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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND

MARCUS LANSKEY, derivatively on behalf of
MEDICAL PROPERTIES TRUST, INC.,
                                                Case No.: 1:24-cv-00471
Plaintiff,


v.
                                                DEMAND FOR JURY TRIAL
EDWARD K. ALDAG, JR., J. KEVIN HANNA,
R. STEVEN HAMNER, G. STEVEN DAWSON,
CATERINA A. MOZINGO, EMILY W.
MURPHY, ELIZABETH N. PITMAN, D. PAUL
SPARKS, JR., MICHAEL G. STEWART, and C.
REYNOLDS THOMPSON, III,

Defendants, and

MEDICAL PROPERTIES TRUST, INC.,

Nominal Defendant.




                 VERIFIED SHAREHOLDER DERIVATIVE COMPLAINT




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                                        INTRODUCTION

       Plaintiff Marcus Lanskey (“Plaintiff”), by Plaintiff’s undersigned attorneys, derivatively

and on behalf of Nominal Defendant Medical Properties Trust, Inc. (“Medical Properties” or the

“Company”), files this Verified Shareholder Derivative Complaint against Defendants Edward K.

Aldag, Jr. (“Aldag”), J. Kevin Hanna (“Hanna”), R. Steven Hamner (“Hamner”), G. Steven

Dawson (“Dawson”), Caterina A. Mozingo (“Mozingo”), Emily W. Murphy (“Murphy”),

Elizabeth N. Pitman (“Pitman”), D. Paul Sparks, Jr. (“Sparks”), Michael G. Stewart (“Stewart”),

and C. Reynolds Thompson, III (“Thompson”) (collectively, the “Individual Defendants” and

together with Medical Properties, “Defendants”) for breaches of their fiduciary duties as directors

and/or officers of the Company, unjust enrichment, abuse of control, gross mismanagement, waste

of corporate assets, contribution and indemnification, and for violations of Section 14(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”). As for Plaintiff’s complaint against the

Individual Defendants, Plaintiff alleges the following based upon personal knowledge as to

Plaintiff and Plaintiff’s own acts, and information and belief as to all other matters, based upon,

inter alia, the investigation conducted by and through Plaintiff’s attorneys, which included, among

other things, a review of United States Securities and Exchange Commission (“SEC”) filings, press

releases, legal filings, news reports, securities analysts’ report, information readily obtainable on

the Internet, and other publicly available documents regarding the Company. Plaintiff believes that

substantial evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                  NATURE OF THE ACTION

       1.       This is a shareholder derivative action that seeks to remedy wrongdoing by the

directors and officers of Medical Properties from July 15, 2019, to January 5, 2024, both dates
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inclusive (the “Relevant Period”).

       2.       Medical Properties is a real estate investment trust (“REIT”) headquartered in

Birmingham, Alabama that purchases and develops healthcare facilities both domestically and

internationally. Founded in 2003 as a Maryland corporation, as of September 30, 2023, the

Company has investments in 441 properties in 31 U.S. states, seven countries in Europe, one

country in South America, and in Australia.. Medical Properties purchases and develops hospital

facilities on a “net lease” basis, whereby the Company owns the buildings and land and leases the

facilities to medical providers. The Company’s facilities cover a variety of healthcare settings,

including general acute care hospitals, behavioral health facilities, inpatient physical rehabilitation

facilities, long-term acute care hospitals, and freestanding emergency room/urgent care facilities.

       3.       Medical Properties conducts substantially all of its operations through MPT

Operating Partnership, L.P. (“MPT”), a Delaware limited partnership. The Company’s common

stock trades on the New York Stock Exchange (“NYSE”) under the ticker symbol “MPW.”

       4.       The Relevant Period begins on July 15, 2019, when Medical Properties announced

that it had reached an agreement to acquire numerous hospitals and behavioral health facilities,

including fourteen acute care hospitals and two behavioral health facilities (the “Prospect

Facilities”) which were owned and operated by Prospect Medical Holdings, Inc. (“Prospect”). The

agreement provided that, following the purchase, the Company would own the Prospect Facilities

outright and lease them back to Prospect. The Prospect Facilities included four acute care hospitals

in Pennsylvania (collectively, the “Pennsylvania Facilities”).

       5.       Prior to the Relevant Period, the Company announced it had signed a definitive

agreement for real estate interests of nine acute hospitals operated by Steward Health Care System

(“Steward”) on September 26, 2016. The agreement provided that the Company would invest
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$1.25 billion in Steward through a real estate sale-leaseback transaction and acquisition of a limited

equity stake in the Company.

       6.       Throughout the Relevant Period, the Company engaged in a widespread scheme to

hide from investors that, contrary to the Company’s representations to the public, its asset portfolio

was extremely troubled and underperforming, such that many of the Company’s medical provider

tenants could not timely make payments for leasing the Company’s facilities. Indeed, throughout

the Relevant Period, Medical Properties completed a series of “uncommercial transactions” to prop

up its underperforming assets in the near term and, consequently, avoid recording impairment

charges. These uncommercial transactions allowed the Company to improperly route cash to

financially distressed healthcare facilities in the Company’s portfolio, thereby circumventing

Medical Properties’ obligation under GAAP (defined below) to report impairment charges, while

simultaneously creating the outward appearance that the Company’s portfolio facilities could

regularly make their lease payments.

       7.       The truth began to emerge on January 26, 2023, when Viceroy Research LLC

(“Viceroy”), a financial research investigative firm, released a report on Medical Properties

entitled “Medical Properties (dis)Trust” (the “Viceroy Report”). The Viceroy Report reported that

Medical Properties had “engaged in billions of dollars of uncommercial transactions with its

tenants and their management teams in order to mask a pervasive revenue round-robin scheme

and/or theft” and specifically described four types of transactions by which “substantial portions

of cash is round-tripped back to [the Company].” The Company engaged in these uncommercial

transactions to make it appear to investors that distressed tenants had positive payment histories,

thereby allowing the Company to avoid recording impairment charges. These transactions

included sale-leasebacks, cash giveaways, bailouts, and the use of fabricated expenses involving
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fabricated projects to siphon away funds.

       8.       The truth began to emerge on February 23, 2023, when, before the market opened,

Medical Properties issued a press release which confirmed the findings in the Viceroy Report. The

press release contained the Company’s financial results for the fourth quarter of 2022 and for the

fiscal year ended December 31, 2022 (the “Fiscal Year 2022”) and revealed that Medical

Properties was recording a $171 million write-down of assets pertaining to the Pennsylvania

Facilities, in addition to a $112 million write-off of unbilled rent owed by Prospect concerning the

Prospect Facilities, for a massive total impairment charge of $283 million.

       9.       On this news, the price per share of the Company’s common stock fell $1.06, or

approximately 8.7%, from closing at $12.20 per share on February 22, 2023, to close at $11.14 per

share on February 23, 2023.

       10.      However, Defendants’ deceit did not end there. On January 4, 2024, the Company

released further information, after the market had closed, showing that the Company continued its

breach of fiduciaries duties by failing to adequately advise of the extent of its rent in arrears.

Specifically, the Company announced that its largest tenant – Steward Health Care System

(“Steward”) – owed approximately $50 million of unpaid rent (exclusive of $50 million that was

previously deferred). The Company further revealed it would record about $350 million of write-

downs related to Steward, including a write-off of consolidated straight-line rent receivables of

approximately $225 million and unpaid rent receivables of approximately $100 million.

       11.      The Company further announced it had engaged Alvarez & Marsal Securities, LLC

(“A&M”) as its financial advisor and KTBS Law, LLP and Baker, Donelson, Bearman, Caldwell

& Berkowitz, PC as legal advisors to advise the Company on its options to enable the recovery of

uncollected rent and outstanding loans. Additionally, the Company announced the establishment
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of a “transformation committee” comprised of newly appointed independent directors to help

improve overall governance.

       12.     On this news, the price per share of the Company’s common stock fell $1.45, or

approximately 29%, from closing at $5 per share on January 4, 2024, to close at $3.55 per share

on January 5, 2024.

       13.     The Individual Defendants’ misrepresentations had the effect of misleading the

investing public and artificially inflating the Company’s stock price during the Relevant Period.

       14.     In further breach of their fiduciary duties to the Company, five of the Individual

Defendants engaged in lucrative inside trading, selling over $58 million worth of common stock

when the price of the Company’s common stock was artificially inflated as a result of the

Individual Defendants’ misconduct.

       15.     At all relevant times, the Individual Defendants further breached their fiduciary

duties by causing the Company to fail to maintain effective disclosure controls and procedures and

adequate internal controls.

       16.     The Individual Defendants’ misconduct is causing, and will continue to cause, the

Company substantial harm. Even beyond the reputational damage and loss in market

capitalization- the total cost to the Company and shareholders may well stretch into the millions

of dollars. For example, the Company, its Chief Executive Officer, Chairman of the Board, and

President, its Chief Financial Officer, and its Chief Accounting Officer are named defendants in a

federal securities fraud class action lawsuit pending in the United States District Court for the

Northern District of Alabama (the “Securities Class Action”).

       17.     The Company has been substantially damaged as a result of the Individual

Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.
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        18.      In light of the breaches of fiduciary duty engaged in by the Individual Defendants,

most of whom are the Company’s current directors, their participation in the wrongful conduct

complained of herein, the substantial likelihood of the directors’ liability in this derivative action

and certain Defendants’ liability in the Securities Class Action, their being beholden to each other,

their longstanding business and personal relationships with each other, and their not being

disinterested and/or independent directors, a majority of the Board cannot consider a demand to

commence litigation against themselves on behalf of the Company, and thus demand is discussed

as futile.

                                  JURISDICTION AND VENUE

        19.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act (15 U.S.C. §

78n(a)(1)), Section 10(b) of the Exchange Act (15 U.S.C. § 78j(b)), and Section 21D of the

Exchange Act (15 U.S.C. § 78u-4(f)).

        20.      This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

        21.      This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

        22.      Additionally, diversity jurisdiction is conferred by 28 U.S.C. § 1332. Plaintiff and

Defendants are citizens of different states, and the amount in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs.

        23.      The Court has personal jurisdiction over each of the Defendants because each

Defendant is either a corporation conducting business and maintaining operations in this District,

or he or she is an individual who has minimum contacts with this District to justify the exercise of
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jurisdiction over them.

       24.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1401 because a

substantial portion of the transactions and wrongs complained of herein occurred in this District,

and the Company is incorporated in this District.

                                            PARTIES

Plaintiff

       25.      Plaintiff is a current shareholder of Medical Properties. Plaintiff has continuously

held Company common stock at all relevant times, and currently owns 500shares of the Company.

Plaintiff is a citizen of the United States and currently resides in Eugene, Oregon.

Nominal Defendant Medical Properties

       26.      Medical Properties is a Maryland corporation with its principal executive offices at

1000 Urban Center Drive, Suite 501, Birmingham, Alabama, 35242. The Company’s common

stock trades on the NYSE under the ticker symbol “MPW.”

Defendant Aldag

       27.      Defendant Aldag has served as the Company’s CEO and Chairman of the Board

since 2004. Defendant Aldag co-founded the Company in 2003. He also serves as the Chair of the

Investment Committee and as a member of the Environmental and Social Risk Committee.

According to the Company’s proxy statement filed on Schedule 14A with the SEC on April 27,

2023 (the “2023 Proxy”), as of March 29, 2023, Defendant Aldag beneficially owned 3,116,010

shares of the Company’s common stock. Given that the price per share of the Company’s common

stock at the close of trading on March 29, 2023, was $7.69, Defendant Aldag owned approximately

$23,962,117 worth of Company stock at that time.

       28.      From the fiscal year ended December 31, 2019 (the “Fiscal Year 2019”) through
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the fiscal year ended December 31, 2022 (the “Fiscal Year 2022”) Defendant Aldag was awarded

over $67,173,215 in salary, bonuses, stock awards, non-equity incentive plan compensation and

other compensation from the Company.

       29.     During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Aldag sold 1,827,939 shares of Company

stock on inside information, for which he received approximately $27,610,481 in proceeds.

Defendant Dawson

       30.     Defendant Dawson has served as a Company director since 2004. He also serves as

the Chair of the Audit Committee and as a member of the Investment Committee. According to

the 2023 Proxy, as of March 29, 2023, Defendant Dawson beneficially owned 123,336 shares of

the Company’s common stock. Given that the price per share of the Company’s common stock at

the close of trading on March 29, 2023, was $7.69, Defendant Dawson owned approximately

$948,454 worth of Company stock at that time.

       31.     For Fiscal Year 2019 through Fiscal Year 2022, Defendant Dawson received

$1,018,618 in fees earned or paid in cash and stock awards.

       32.     During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Dawson sold 7,476 shares of Company

stock on inside information, for which he received approximately $135,091 in proceeds. Defendant

Dawson sold 7,476 shares of Company stock on inside information, for which he received

approximately $135,091 in proceeds. His insider sale, made with knowledge of material nonpublic

information before the material misstatements and omissions were exposed, demonstrates his

motive in facilitating and participating in the scheme.
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Defendant Hanna

        33.     Defendant Hanna serves as the Company’s Senior Vice President, Controller and

CAO and has served as a Company employee since 2008. He personally signed the Form 10-Ks

and Form 10-Qs during the Relevant Period.

        34.     During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Hanna sold 50,500 shares of Company

stock on inside information, for which he received approximately $1,053,910 in proceeds.

Defendant Hamner

        35.     Defendant Hamner has served as a Company director since 2005 and as the

Company’s Executive Vice President and CFO since September 2003. He is also a member of the

Investment Committee and the Risk Committee. According to the 2023 Proxy, as of March 29,

2023, Defendant Hamner beneficially owned 1,795,283 shares of the Company’s common stock.

Given that the price per share of the Company’s common stock at the close of trading on March

29, 2023, was $7.69, Defendant Hamner owned approximately $13,805,726 worth of Company

stock at that time.

        36.     For Fiscal Year 2019 through Fiscal Year 2022, Defendant Hamner received

$34,134,174 in salary, bonuses, stock awards, non-equity incentive plan compensation, and all

other compensation.

        37.     During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Thus, in total, before the fraud was exposed, he sold

902,500 shares of Company stock on inside information, for which he received approximately

$18,575,025 in proceeds.
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Defendant Mozingo

       38.    Defendant Mozingo has served as a Company director since February 2020. She

also serves as the Chair of the Environmental and Social Committee and as a member of the Risk

Committee. According to the 2023 Proxy, as of March 29, 2023, Defendant Mozingo beneficially

owned 26,396 shares of the Company’s common stock. Given that the price per share of the

Company’s common stock at the close of trading on March 29, 2023, was $7.69, Defendant

Mozingo owned approximately $202,985 worth of Company stock at that time.

       39.    For Fiscal Year 2020 through Fiscal Year 2022, Defendant Mozingo received

$704,570 in fees earned or paid in cash and stock awards.

Defendant Murphy

       40.    Defendant Murphy has served as a Company director since February 2022. She also

serves as a member of the Ethics Committee, the Nominating and Corporate Governance

Committee, and the Environmental and Social Committee. According to the 2023 Proxy, as of

March 29, 2023, Defendant Murphy beneficially owned 15,776 shares of the Company’s common

stock. Given that the price per share of the Company’s common stock at the close of trading on

March 29, 2023, was $7.69, Defendant Murphy owned approximately $121,317 worth of

Company stock at that time.

       41.    For Fiscal Year 2022, Defendant Murphy received $207,538 in fees earned or paid

in cash and stock awards.

Defendant Pitman

       42.    Defendant Pitman has served as a Company director since 2018. She also serves as

the Chair of the Nominating and Corporate Governance Committee, Chair of the Risk Committee,
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as a member of the Ethics Committee, and as a member of the Environmental and Social

Committee. According to the 2023 Proxy, as of March 29, 2023, Defendant Pitman beneficially

owned 46,984 shares of the Company’s common stock. Given that the price per share of the

Company’s common stock at the close of trading on March 29, 2023, was $7.69, Defendant Pitman

owned approximately $361,307 worth of Company stock at that time.

       43.     For Fiscal Year 2019 through Fiscal Year 2022, Defendant Pitman received

$958,618 in fees earned or paid in cash.

Defendant Sparks

       44.     Defendant Sparks has served as a Company director since 2014. He also serves as

a member of the Audit Committee, Compensation Committee, and Investment Committee.

According to the 2023 Proxy, as of March 29, 2023, Defendant Sparks beneficially owned 66,474

shares of the Company’s common stock. Given that the price per share of the Company’s common

stock at the close of trading on March 29, 2023, was $7.69, Defendant Sparks owned

approximately $511,185 worth of Company stock at that time.

       45.     For Fiscal Year 2019 through Fiscal Year 2022, Defendant Sparks received

$983,618 in fees earned or paid in cash and stock awards.

Defendant Stewart

       46.     Defendant Stewart has served as a Company director since 2016. He also serves as

a member of the Environmental and Social Committee, Compensation Committee, Nominating

and Corporate Governance Committee, and Ethics Committee. According to the 2023 Proxy, as of

March 29, 2023, Defendant Stewart beneficially owned 224,111 shares of the Company’s common

stock. Given that the price per share of the Company’s common stock at the close of trading on

March 29, 2023, was $7.69, Defendant Stewart owned approximately $1,723,414 worth of
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Company stock at that time.

       47.     For Fiscal Year 2019 through Fiscal Year 2022, Defendant Stewart received

$1,066,118 in fees earned or paid in cash and stock awards.

       48.     During the Relevant Period, while the Company’s stock price was artificially

inflated and before the scheme was exposed, Defendant Stewart sold 26,900 shares of Company

stock on inside information, for which he received approximately $538,810 in proceeds.

Defendant Thompson

       49.     Defendant Thompson has served as a Company director since 2016.He also serves

as Chair of the Compensation Committee, as a member of the Audit Committee, and as a member

of the Investment Committee. According to the 2023 Proxy, as of March 29, 2023, Defendant

Thompson beneficially owned 45,253 shares of the Company’s common stock. Given that the

price per share of the Company’s common stock at the close of trading on March 29, 2023, was

$7.69, Defendant Thompson owned approximately $347,996 worth of Company stock at that time.

       50.     For Fiscal Year 2019 through Fiscal Year 2022, Defendant Thompson received

$998,618 in fees earned or paid in cash and stock awards.

               FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS

       51.     By reason of their positions as officers, directors, and/or fiduciaries of the Company

and because of their ability to control the Company’s business and corporate affairs, the Individual

Defendants each owed the Company and its shareholders fiduciary obligations of trust, loyalty,

good faith, and due care, and were and are required to use their utmost ability to control and

manage the Company in a fair, just, honest, and equitable manner. The Individual Defendants were

and are required to act in furtherance of the best interests of the Company and its shareholders so

as to benefit all shareholders equally.
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       52.     Each director and officer of the Company owes the Company and its shareholders

the fiduciary duty to exercise good faith and diligence in the administration of the Company and

in the use and preservation of its property and assets and the highest obligations of fair dealing.

       53.     The Individual Defendants, because of their positions of control and authority as

directors and/or officers of the Company, were able to and did, directly and/or indirectly, exercise

control over the wrongful acts complained of herein. To discharge their duties, the officers and

directors of the Company were required to exercise reasonable and prudent supervision over the

management, policies, controls, and operations of the Company.

       54.     Each Individual Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty, good

faith, and the exercise of due care and diligence in the management and administration of the

affairs of the Company, as well as in the use and preservation of its property and assets. The

conduct of the Individual Defendants complained of herein involves a knowing and culpable

violation of their obligations as directors and officers of the Company, the absence of good faith

on their part, or a reckless disregard for their duties to the Company and its shareholders that the

Individual Defendants were aware or should have been aware posed a risk of serious injury to the

Company. The conduct of the Individual Defendants, who were also the officers and directors of

the Company, has been ratified by the remaining Individual Defendants, who at all relevant times

collectively comprised a majority of the Board.

       55.     As the senior executive officers and directors of a publicly-traded company whose

common stock was registered with the SEC pursuant to the Exchange Act and traded on the NYSE,

the Individual Defendants had a duty to prevent and not to effect the dissemination of inaccurate
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and untruthful information with respect to the Company’s financial condition, performance,

growth, operations, financial statements, business, products, management, earnings, internal

controls, and present and future business prospects, including the dissemination of false

information regarding the Company’s business, prospects, and operations, and had a duty to cause

the Company to disclose in its regulatory filings with the SEC all those facts described in this

Complaint that it failed to disclose, so that the market price of the Company’s common stock

would be based upon truthful and accurate information. Further, they had a duty to ensure the

Company remained in compliance with all applicable laws.

       56.     To discharge their duties, the Company’s officers and directors were required to

exercise reasonable and prudent supervision over the management, policies, practices, and internal

controls of the Company. By virtue of such duties, the Company’s officers and directors were

required to, among other things:

               (a)    ensure that the Company was operated in a diligent, honest, and prudent

manner in accordance with the laws and regulations of the United States, and pursuant to the

Company’s own Code of Ethics and Business Conduct (the “Code of Conduct”); conduct the

affairs of the Company in an efficient, business-like manner so as to make it possible to provide

the highest quality performance of its business, to avoid wasting the Company’s assets, and to

maximize the value of the Company’s stock;

               (b)    remain informed as to how the Company conducted its operations, and,

upon receipt of notice or information of imprudent or unsound conditions or practices, to make

reasonable inquiry in connection therewith, and to take steps to correct such conditions or

practices;

               (c)    establish and maintain systematic and accurate records and reports of the
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business and internal affairs of the Company and procedures for the reporting of the business and

internal affairs to the Board and to periodically investigate, or cause independent investigation to

be made of, said reports and records;

               (d)     maintain and implement an adequate and functioning system of internal

legal, financial, and management controls, such that the Company’s operations would comply with

all applicable laws and the Company’s financial statements and regulatory filings filed with the

SEC and disseminated to the public and the Company’s shareholders would be accurate;

               (e)     exercise reasonable control and supervision over the public statements

made by the Company’s officers and employees and any other reports or information that the

Company was required by law to disseminate;

               (f)     refrain from unduly benefiting themselves and other Company insiders at

the expense of the Company; and

               (g)     examine and evaluate any reports of examinations, audits, or other financial

information concerning the financial affairs of the Company and to make full and accurate

disclosure of all material facts concerning, inter alia, each of the subjects and duties set forth

above.

         57.   Each of the Individual Defendants further owed to the Company and the

shareholders the duty of loyalty requiring that each favor the Company’s interest and that of its

shareholders over their own while conducting the affairs of the Company and refrain from using

their position, influence, or knowledge of the affairs of the Company to gain personal advantage.

         58.   At all times relevant hereto, the Individual Defendants were the agents of each other

and of the Company and were at all times acting within the course and scope of such agency.

         59.   Because of their advisory, executive, managerial, and directorial positions with the
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Company, each of the Individual Defendants had access to adverse, nonpublic information about

the Company.

       60.     The Individual Defendants, because of their positions of control and authority, were

able to and did, directly or indirectly, exercise control over the wrongful acts complained of herein,

as well as the contents of the various public statements issued by the Company.

       61.     Individual Defendants owe fiduciary duties to the Company and its shareholders,

including duties of loyalty, good faith, and candor. In addition, the Company’s foundational

corporate documents detail the requirements of the Board’s duties as described herein.

       62.     The Company’s Code of Conduct, as revised in October 2023, provides in part as

follows:

       Medical Properties Trust (“MPT” or the “Company”) is amending and restating this
       Code of Ethics and Business Conduct (the “Code”) for the purpose of deterring
       wrongdoing and promoting:

               •        Honest and ethical conduct, including ethical handling of conflicts
       of interest, anti-corruption, and bribery;

              • Full, fair, accurate, timely and understandable disclosure in the
       Company’s filings with the Securities and Exchange Commission, from and after
       the time the Company is required to make such filings, and other public
       communications;

               •   Compliance with applicable laws, rules and regulations;

               •   Prompt reporting of violations of the Code; and

               •   Accountability for adherence to the Code.

Honest and Ethical Conduct

   1. Scope

       Each director, officer, employee owes a duty to the Company to act in an honest
       and ethical manner and to abide by the letter and the spirit of all applicable laws,
       rules and regulations applicable wherever the Company does business. All
       directors, officers and employees of the Company are expected to be familiar with
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   the Code and to adhere to those principles and procedures set forth in the Code that
   apply to them.

   The Company’s Audit Committee of the Board of Directors (the “Audit
   Committee”) is responsible for administering and interpreting the Code. The Audit
   Committee has delegated day-to-day responsibility for administrating and
   interpreting the Code to the Code of Ethics Contact Person. For purposes of this
   Code, the “Code of Ethics Contact Person” will be the Senior Vice President of
   Operations…

2. Conflict of Interest

   A “conflict of interest” exists whenever a person’s private interests interfere or
   conflict in any way with the interests of the Company. Directors, officers and
   employees should conduct themselves in a manner that avoids even the appearance
   of a conflict of interest…

3. Compliance

   It is the Company’s policy to comply with all applicable laws, rules and regulations.
   Each director, officer and employee is responsible for adhering to the standards and
   restrictions imposed by those laws, rules and regulations.

4. Insider Trading

   In the normal course of business, directors, officers and employees may have
   access to information that is not known to the public. Sometimes this inside
   information may also "materially" affect the market for the Company's stock.
   Directors, officers and employees with material inside information are subject to
   severe legal consequences for buying or selling, or for disclosing this information
   to others who buy or sell, Company stock before the information is public.

   The courts say that information is material if there is a substantial likelihood that a
   reasonable investor would consider the information important in deciding whether
   or not to buy, sell or hold a company's securities. Directors, officers and
   employees may not act on this information or release it to anyone else, including
   relatives, friends, coworkers or stockbrokers, until this information has been
   disclosed publicly and the public has had time to react to it. Always consult the
   Company's Chief Executive Officer, Chief Financial Officer or Code of Ethics
   Contact Person before buying or selling Company stock if any doubt exists
   concerning the materiality of the information in your possession…

5. Public Company Reporting

   It is of critical importance that the Company's filings with the Securities and
   Exchange Commission (“SEC”) and related public disclosures be accurate and
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       timely. Depending on his or her position with the Company, a director, officer or
       employee may be called upon to provide necessary information to assure that the
       Company’s public reports are complete, fair and understandable. The Company
       expects directors, officers and employees to take their responsibility very
       seriously and to provide prompt, accurate answers to inquiries related to the
       Company's public disclosure requirements.

   6. Sanctions; Disciplinary Actions

       Violations of this code will not be condoned. Any employee who breaches this
       policy may face disciplinary action, which could result in dismissal for gross
       misconduct. Any non-employee who breaches this policy may have their contract
       terminated with immediate effect.

       63.     Defendants Dawson, Sparks, and Thompson (the “Audit Committee Defendants”)

comprise the Audit Committee. The Audit Committee’s Charter provides that its purpose is to

“assist the Board of Directors… in fulfilling its oversight responsibilities for (1) the integrity of

the Company’s financial statements, (2) the Company’s compliance with legal and regulatory

requirements … and (4) the performance of the Company’s internal audit function and independent

auditors. The Committee will also assist the Board in monitoring the Company’s compliance with

the Code of Ethics and Business Conduct and in overseeing the Company’s system of disclosure

controls and procedures and internal controls over financial reporting.”

       64.     The    Committee’s     duties   and   responsibilities   include   “discuss[ing]with

management and independent auditors significant financial reporting issues and judgment made in

connection with preparation of the Company’s financial statements, including significant changes

in the selection or application of accounting principles, major issues as to the adequacy of internal

controls, and any special steps adopted in light of material control deficiencies”; “review[ing] and

discuss[ing] with management and the independent auditors the annual audited financial

statements and quarterly financial statements, including the Company’s specific disclosures in

Management's Discussion and Analysis of Financial Condition and Results of Operations and the
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results of the independent auditor’s reviews of the quarterly financial statements, and recommend

to the Board whether the annual audited financial statements should be included in any Form 10-

K to be filed by the Company.

       65.      The Audit Committee’s Charter also states that the Committee shall discuss with

management and the independent auditor “the Company’s earnings press releases, including the

use of “pro forma” or “adjusted” non-GAAP information, as well as financial information and

earnings guidance provided to analyst and rating agencies” and “any published reports that raise

material issues regarding the Company’s financial statements or accounting policies.”

       66.      The Audit Committee’s Charter also required that the Committee “review any

significant matters contained in reports prepared by the internal auditing department and meet

privately with the internal audit manager each quarter to discuss concerns relating to internal

controls or accounting and auditing matters”; “meet with Company senior management

periodically to review: major financial risk exposures; material legal issues; plans for disaster

recovery, risk management activities, business issues which may affect financial results, ethical

standards and conduct, Management Information Systems activities;” “discuss with management

the Company's major financial risk exposure and the steps management has taken to monitor and

control such exposure, including the Company’s risk assessment and risk management policies;”

and “monitor compliance of the Company's employees with its standards of business conduct and

conflict of interest policies and review reports and disclosures of insider and affiliated party

transactions.

       67.      Defendants failed to meet their responsibilities and obligations under the Code of

Conduct and Audit Committee Charter as set forth herein, including but not limited to the

Defendants failure to maintain internal controls and failure to comply with applicable laws and
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regulations.” This illegal course of conduct constituted breaches of their fiduciary duties to the

Company and resulted in significant harm to the Company.

       68.     At all times relevant hereto, each of the Individual Defendants was the agent of

each of the other Individual Defendants and of the Company and was at all times acting within the

course and scope of such agency.

                       INDIVIDUAL DEFENDANTS’ MISCONDUCT

Background

       69.     Medical Properties was incorporated in Maryland in 2003 as a REIT and is

headquartered in Birmingham, Alabama. The Company’s business model centers on acquiring and

developing healthcare facilities and leasing those facilities to medical companies under long-term

net leases. These leases generally mandate that the tenant shoulder a majority of the costs affiliated

with the leased property.

       70.     Although Medical Properties maintains 100% ownership of a majority of its leased

assets, the Company also owns many of its properties through joint ventures with other partners.

Indeed, in some instances, the Company furnishes mortgage loans to healthcare companies which

are collateralized by the Company’s real estate assets. In other instances, the Company provides

healthcare companies with loans through taxable REIT subsidiaries (“TRS”), the proceeds of

which are typically used for working capital and other purposes.

       71.     Moreover, Medical Properties sometimes extends noncontrolling investments in its

tenants as investments in unconsolidated operating entities. This type of investment is generally

made together with bigger real estate deals with the tenant that permit Medical Properties to share

in the tenant’s profits and losses and also provide the Company with certain minority rights and

protections.
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       72.     This business model allows Medical Properties to complete acquisitions and

recapitalizations and strives to achieve the Company’s purported goal of “allow[ing] operators of

healthcare facilities to serve their communities by unlocking the value of their real estate assets to

fund facility improvements, technology upgrades, and other investments in operations.”

       73.     As an REIT, Medical Properties emphasizes to investors two financial metrics,

“funds from operations” (“FFO”) and “normalized funds from operations” (“NFFO”). FFO allows

investors to understand the cash flow of an REIT company. Since real estate values fluctuate over

time, FFO is used to more accurately account for these changes. Generally, FFO is calculated by

adding depreciation, amortization, and losses on sales of assets to earnings. Any gains on sales of

assets and any interest income are then subtracted from the first figure. NFFO is adjusted FFO that

accounts for unanticipated or non-core events or occurrences that would make comparison of FFOs

across time inaccurate. The Company filed its annual report for Fiscal Year 2021 on Form 10-K

with the SEC (the “2021 10-K”) on March 1, 2022. The 2021 10-K described FFO and NFFO,

stating the following, in relevant part:

       Investors and analysts following the real estate industry utilize funds from
       operations, or FFO, as a supplemental performance measure. FFO, reflecting the
       assumption that real estate asset values rise or fall with market conditions,
       principally adjusts for the effects of GAAP depreciation and amortization of real
       estate assets, which assumes that the value of real estate diminishes predictably
       over time. We compute FFO in accordance with the definition provided by the
       National Association of Real Estate Investment Trusts, or Nareit, which represents
       net income (loss) (computed in accordance with GAAP), excluding gains (losses)
       on sales of real estate and impairment charges on real estate assets, plus real estate
       depreciation and amortization and after adjustments for unconsolidated
       partnerships and joint ventures. In addition to presenting FFO in accordance with
       the Nareit definition, we disclose normalized FFO [NFFO], which adjusts FFO for
       items that relate to unanticipated or non-core events or activities or accounting
       changes that, if not noted, would make comparison to prior period results and
       market expectations less meaningful to investors and analysts.

       We believe that the use of FFO … improves the understanding of our operating
       results among investors and the use of normalized FFO makes comparisons of our
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        operating results with prior periods and other companies more meaningful FFO and
        normalized FFO are relevant and widely used supplemental measures of operating
        and financial performance of REITs … [T]he measures do not reflect either
        depreciation and amortization costs or the level of capital expenditures and leasing
        costs necessary to maintain the operating performance of our properties, which can
        be significant economic costs that could materially impact our results of operations.

        74.     Additionally, Generally Accepted Accounting Principles (“GAAP”) required the

Company to record an impairment charge as soon as the Company received information that it was

probable that rent payments may not be paid. 1 Instead, the Individual Defendants chose to keep

investors in the dark for as long as possible, and only recorded massive impairment charges when

the Company’s properties actually failed to timely make rent payments.

        75.     Both the Prospect Facilities and Steward were integral to the Company’s overall

financial health and their ability to pay rent was crucial. For these reasons, the Individual

Defendants had a crucial obligation to monitor, analyze, and accurately report the financial

condition of both.

        76.     The Individual Defendants also represented to investors throughout the Relevant

Period in the Company’s public filings with the SEC that the Company “monitor[s] certain key

performance indicators that we believe provide us with early indications of conditions that could

affect the level of risk in our portfolio,” including through monitoring “facility operating

performance” and “tenants’ free cash flow.”

        77.     Similarly, Item 303 of Regulation S-K, codified at 17 C.F.R. § 229.303, requires



1
  GAAP Topic 310 states that “A [receivable] is impaired when, based on current information and
events, it is probable that a creditor will be unable to collect all amounts due according to the
contractual terms of the … agreement.” To determine the probability of a receivable becoming
impaired, “[A] creditor shall consider all available information reflecting past events and current
conditions when developing the estimate of expected future cash flows. All available information
would include existing … factors, for example, … economic … factors that are relevant to the
collectability of that [receivable] and that indicate that it is probable that an asset had been impaired
at the date of the financial statements.”
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the disclosure of “events or uncertainties” that could materially affect a company’s “liquidity,”

“capital resources,” and/or “results of operations.” The Individual Defendants should have

disclosed, per Item 303, that many lease payments from numerous tenants were in danger of not

being timely paid, as tardy or unpaid rent payments would negatively materially affect liquidity,

capital resources, and Company operations.

       78.     In breach of their fiduciary duties to the Company, the Individual Defendants

engaged in a vast scheme to hide from investors that the Company’s asset portfolio was extremely

troubled and underperforming so much so that many of the Company’s facilities could not timely

pay their rents. Contrary to their public statements, the Individual Defendants completed a variety

of “uncommercial transactions” to save the Company’s distressed assets in the near term and,

consequently, avert impairment charges, thereby causing the Company’s stock to trade at

artificially inflated prices throughout the Relevant Period. In so doing, the Individual Defendants

caused the Company to overstate FFO, NFFO, net income, and even the value of the Company’s

rental properties, since they prevented the Company from implementing necessary impairment

charges during the Relevant Period.

       79.     During the Relevant Period, the Individual Defendants breached their fiduciary

duties by personally making and/or causing the Company to make a series of materially false and

misleading statements and omissions about the true condition of the Company’s assets, financial

health, and overall business practices. Specifically, the Individual Defendants willfully or

recklessly made and/or caused the Company to make to the investing public a series of false and

misleading statements and omissions of material fact that failed to disclose, inter alia, that: (1) the

Company concealed the poor financial condition of its high-debt tenants, including Steward; (2)

Medical Properties fraudulently transferred hundreds of millions of dollars to bail out its debt-
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ridden tenants; (3) Medical Properties hid its fraudulent fund transfers by concocting fake

construction projects with purportedly high capital expenses despite the fact that Medical

Properties entered into “triple-net leases,” which required tenants to pay a high amount of

expenses, including real estate taxes, insurance, and maintenance; (4) due to the foregoing, the

Company’s public representations, were false and misleading; and (5) the Company failed to

maintain adequate internal controls. Further, the Individual Defendants failed to adequately

disclose the poor financial condition of Steward until January 2024, whereupon it announced that

Steward owed approximately $50 million in unpaid rent and that it would record about $350

million of write-downs related to Steward, including a write-off of consolidated straight-line rent

receivables of approximately $225 million and unpaid rent receivables of approximately $100

million. As a result of the foregoing, the Company’s public statements were materially false and

misleading at all relevant times.

             False and Misleading Statements Made During the Relevant Period

August 1, 2019 Form 8-K

       80.     On August 1, 2019, the Company filed a Form 8-K (the “August 2019 8-K”) with

the SEC. Defendant Hamner signed the August 2019 8-K. The August 2019 8-K contained a press

release which provided financial and operational results for the quarter and six months ended June

30, 2019. The August 2019 8-K reported net income for the second quarter of 2019 of $79.4 million

($0.20 per diluted share), compared to $111.6 million ($0.30 per diluted share) for the second

quarter of 2018. The August 2019 8-K also reported FFO of $119.5 million.

       81.     Additionally, the August 2019 8-K reported NFFO of $120.9 million, compared to

$129.9 million in the second quarter of 2018. Per share NFFO was $0.31 per diluted share in the

second quarter of 2019, compared to $0.36 per diluted share in the second quarter of 2018.
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August 9, 2019 Form 10-Q

       82.     On August 9, 2019, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2019 (the “2Q19 10-Q”). The 2Q19 10-Q was signed by

Defendants Aldag and Hamner and contained certifications, signed by Defendants Aldag and

Hamner, pursuant to Rules 13a- 14(a) and 15d-14(a) promulgated under the Exchange Act and the

Sarbanes-Oxley Act of 2002 (“SOX”) attesting to the accuracy of the financial statements

contained in the 2Q19 10-Q, the disclosure of any material changes to the Company’s internal

controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.

       83.     The 2Q19 10-Q stated the same financial results as the August 2019 8-K in ¶¶ 79-

80.

October 31, 2019 Form 8-K

       84.     On October 31, 2019, the Company filed a Form 8-K (the “October 2019 8-K”)

with the SEC. Defendant Hamner signed the October 2019 8-K. The October 2019 8-K contained

a press release which provided financial and operational results for the quarter ended September

30, 2019. The October 2019 8- K reported net income for the third quarter of 2019 of $89.8 million

($0.20 per diluted share), compared to $736.0 million ($2.00 per diluted share) for the third quarter

of 2018, resulting from $695.2 million of gains from sales.

       85.     Additionally, the October 2019 8-K reported FFO of $139.3 million and NFFO of

$147.5 million, compared to $127.2 million in the third quarter of 2018. Per share NFFO was $0.33

per diluted share in the third quarter of 2019, compared to $0.35 per diluted share in the third

quarter of 2018.

November 12, 2019 Form 10-Q

       86.     On November 12, 2019, the Company filed its quarterly report on Form 10-Q with
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the SEC for the period ended September 30, 2019 (the “3Q19 10- Q”). The 3Q19 10-Q was signed

by Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag

and Hamner, attesting to the accuracy of the financial statements contained in the 3Q19 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors. The 3Q19 10Q stated the same

financial results as the October 2019 8-K in ¶¶ 83-84.

February 6, 2020 Form 8-K

       87.     On February 6, 2020, the Company filed a Form 8-K (the “February 2020 8-K”)

with the SEC. Defendant Hamner signed the February 2020 8-K. The February 2020 8-K contained

a press release which provided financial and operational results for the quarter and year ended

December 31, 2019. The February 2020 8-K reported net income for the fourth quarter and full

year 2019 of $130 million ($0.26 per diluted share) and $374.7 million ($0.87 per diluted share),

respectively, compared to $78 million ($0.21 per diluted share) and $1.02 billion ($2.76 per diluted

share) for the fourth quarter and full year 2018, respectively.

       88.     Additionally, the February 2020 8-K reported NFFO of $171 million ($0.35 per

diluted share) for the fourth quarter of 2019 and $557.4 million ($1.30 per diluted share) for Fiscal

Year 2019, compared to $112 million ($0.31 per diluted share) for the fourth quarter of 2018 and

$501 million ($1.37 per diluted share) for the fiscal year ended December 31, 2018. Moreover, the

February 2020 8-K reported FFO of $535.8 million for Fiscal Year 2019. The February 2020 8-K

also stated a $2.1 billion balance in the “Investment in Financing Leases” line item. This balance

sheet item included aggregate future “lease payments receivable” that would be paid by the

Prospect Facilities over the remaining leases plus the residual value of the real estate leased to the

Prospect Facilities.
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February 27, 2020 Form 10-K

        89.     On February 27, 2020, the Company filed its annual report for the Fiscal Year 2019

on Form 10-K with the SEC (the “2019 10-K”). The 2019 10-K was signed by Defendants Aldag,

Hamner, Dawson, Pitman, Sparks, Stewart, and Thompson and contained SOX certifications,

signed by Defendants Aldag and Hamner, attesting to the accuracy of the financial statements

contained in the 2019 10-K, the disclosure of any material changes to the Company’s internal

controls, and the disclosure of any fraud committed by the Company, its officers, or its directors.

The 2019 10-K stated the same financial results as the February 2020 8- K in ¶¶ 86-87.

        90.     The 2019 10-K stated the following about Medical Properties’ dependence on the

ability of its tenants to meet their financial obligations:

        Our relationships with these operators and their financial performance and resulting
        ability to satisfy their lease and loan obligations to us are material to our financial
        results and our ability to service our debt and make distributions to our
        stockholders. We are dependent upon the ability of these operators to make rent
        and loan payments to us, and any failure to meet these obligations could have a
        material adverse effect on our financial condition and results of operations.

(Emphasis added.)

        91.     The 2019 10-K also stated that the Company’s financial reporting was accurate and

that none of the Company’s facilities values were impaired, stating the following, in relevant part:

        When circumstances indicate a possible impairment of the value of our real estate
        investments, we review the recoverability of the facility’s carrying value. The
        review of the recoverability is generally based on our estimate of the future
        undiscounted cash flows from the facility’s use and eventual disposition. Our
        forecast of these cash flows considers factors such as expected future operating
        income, market and other applicable trends, and residual value, as well as the
        effects of leasing demand, competition, and other factors. If impairment exists due
        to the inability to recover the carrying value of a facility on an undiscounted basis,
        an impairment loss is recorded to the extent that the carrying value exceeds the
        estimated fair value of the facility. We do not believe that the value of any of our
        facilities was impaired at December 31, 2019; however, given the highly
        specialized aspects of our properties no assurance can be given that future
        impairment charges will not be taken.
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(Emphasis added).

April 30, 2020 Form 8-K

       92.     On April 30, 2020, the Company filed a Form 8-K (the “April 2020 8-K”) with the

SEC. Defendant Hamner signed the April 2020 8-K. The April 2020 8-K contained a press release

which provided financial and operational results for the quarter ended March 31, 2020. The April

2020 8-K reported net income for the first quarter of 2020 of $81.0 million ($0.15 per diluted

share), compared to $75.8 million ($0.20 per diluted share) for the first quarter of 2019.

       93.     Additionally, the April 2020 8-K reported NFFO of $191.2 million for the first

quarter of 2020 ($0.37 per diluted share), compared to $117.8 million ($0.31 per diluted share) for

the first quarter of 2019. Moreover, the April 2020 8-K reported FFO of $168.7 million. The April

2020 8-K also reported a $2.1 billion balance in the Investment in Financing Leases line item on

the Company’s balance sheet.

May 11, 2020 Form 10-Q

       94.     On May 11, 2020, the Company filed its quarterly report on Form 10- Q with the

SEC for the period ended March 31, 2020 (the “1Q20 10-Q”). The 1Q20 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 1Q20 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       95.     The 1Q20 10-Q stated the same financial results as the April 2020 8- K in ¶¶ 91-

92.

July 30, 2020 Form 8-K

       96.     On July 30, 2020, the Company filed a Form 8-K (the “July 2020 8- K”) with the
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SEC. Defendant Hamner signed the July 2020 8-K. The July 2020 8- K contained a press release

which provided financial and operational results for the quarter ended June 30, 2020. The July

2020 8-K reported net income for the second quarter of 2020 of $109.5 million ($0.21 per diluted

share), compared to $79.4 million ($0.20 per diluted share) for the second quarter of 2019.

       97.     Additionally, the July 2020 8-K reported NFFO of $199.6 million ($0.38 per diluted

share) for the second quarter of 2020, compared to $120.9 million ($0.31 per diluted share) for the

second quarter of 2019. Moreover, the July 2020 8-K reported FFO of $183.9 million. The July

2020 8-K also reported a $2.1 billion balance in the Investment in Financing Leases line item on

the Company’s balance sheet.

August 7, 2020 Form 10-Q

       98.     On August 7, 2020, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2020 (the “2Q20 10-Q”). The 2Q20 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag

and Hamner, attesting to the accuracy of the financial statements contained in the 2Q20 10-Q,

the disclosure of any material changes to the Company’s internal controls, and the disclosure of

any fraud committed by the Company, its officers, or its directors. The 2Q20 10-Q stated the

same financial results as the July 2020 8-K in ¶¶ 95-96.

October 29, 2020 Form 8-K

       99.     On October 29, 2020, the Company filed a Form 8-K (the “October 2020 8-K”)

with the SEC. Defendant Hamner signed the October 2020 8-K. The October 2020 8-K contained

a press release which provided financial and operational results for the quarter ended September

30, 2020. The October 2020 8-K reported net income for the third quarter of 2020 of $131.1 million

($0.25 per diluted share), compared to $89.8 million ($0.20 per diluted share) for the third quarter
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of 2019.

       100.    Additionally, the October 2020 8-K reported NFFO of $220.7 million ($0.41 per

diluted share) for the third quarter of 2020, compared to $147.5 million ($0.33 per diluted share)

for the third quarter of 2019. Moreover, the October 2020 8-K reported FFO of $212.4 million.

The October 2020 8-K also reported a $2.1 billion balance in the Investment in Financing Leases

line item on the Company’s balance sheet.

November 9, 2020 Form 10-Q

       101.    On November 9, 2020, the Company filed its quarterly report on Form 10-Q with

the SEC for the period ended September 30, 2020 (the “3Q20 10-Q”). The 3Q20 10-Q was signed

by Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag

and Hamner, attesting to the accuracy of the financial statements contained in the 3Q20 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       102.    The 3Q20 10-Q stated the same financial results as the October 2020 8-K in ¶¶ 98-

99.

February 4, 2021 Form 8-K

       103.    On February 4, 2021, the Company filed a Form 8-K (the “February 2021 8-K”)

with the SEC. Defendant Hamner signed the February 2021 8-K. The February 2021 8-K contained

a press release which provided financial and operational results for the quarter and year ended

December 31, 2020. The February 2021 8-K reported net income for the fourth quarter and year

ended 2020 of $110 million ($0.20 per diluted share) and $431.5 million ($0.81 per diluted share),

respectively, compared to $130 million ($0.26 per diluted share) and $375 million ($0.87 per

diluted share) for the fourth quarter and year ended 2019, respectively.
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        104.    Additionally, the February 2021 8-K reported FFO of $757.7 for Fiscal Year 2020.

The February 2021 8-K also reported NFFO of $220 million ($0.41 per diluted share) for the fourth

quarter of 2020 and $831.2 million ($1.57 per diluted share) for Fiscal Year 2020, compared to

$171 million ($0.35 per diluted share) for the fourth quarter of 2019 and $557 million ($1.30 per

diluted share) for Fiscal Year 2019. The February 2021 8-K also reported a $2.0 billion balance in

the Investment in Financing Leases line item on the Company’s balance sheet.

March 1, 2021 Form 10-K

        105.    On March 1, 2021, the Company filed its annual report for the Fiscal Year 2020 on

Form 10-K with the SEC (the “2020 10-K”). The 2020 10-K was signed by Defendants Aldag,

Hamner, Dawson, Mozingo, Pitman, Sparks, Stewart, and Thompson and contained SOX

certifications, signed by Defendants Aldag and Hamner, attesting to the accuracy of the financial

statements contained in the 2020 10-K, the disclosure of any material changes to the Company’s

internal controls, and the disclosure of any fraud committed by the Company, its officers, or its

directors. The 2020 10-K stated the same financial results as the February 2021 8- K.

        106.    The 2020 10-K stated the following about Medical Properties’ dependence on the

ability of its tenants to meet their financial obligations:

        Our tenants’ financial performance and resulting ability to satisfy their lease and
        loan obligations to us are material to our financial results and our ability to service
        our debt and make distributions to our stockholders. We are dependent upon the
        ability of our tenants to make rent and loan payments to us, and any failure to
        meet these obligations could have a material adverse effect on our financial
        condition and results of operations.

(Emphasis added.)

        107.    The 2020 10-K also stated that the Company’s financial reporting was accurate and

that none of the Company’s facilities’ values were impaired, stating the following, in relevant part:

        When circumstances indicate a possible impairment of the value of our real estate
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       investments, we review the recoverability of the facility’s carrying value. The
       review of the recoverability is generally based on our estimate of the future
       undiscounted cash flows from the facility’s use and eventual disposition. Our
       forecast of these cash flows considers factors such as expected future operating
       income, market and other applicable trends, and residual value, as well as the
       effects of leasing demand, competition, and other factors. If impairment exists due
       to the inability to recover the carrying value of a facility on an undiscounted basis,
       an impairment loss is recorded to the extent that the carrying value exceeds the
       estimated fair value of the facility. In making estimates of fair value for purposes
       of impairment assessments, we will look to a number of sources including
       independent appraisals, available broker data, or our internal data from recent
       transactions involving similar properties in similar markets. We do not believe that
       the value of any of our facilities was impaired at December 31, 2020; however,
       given the highly specialized aspects of our properties no assurance can be given
       that future impairment charges will not be taken.

(Emphasis added.)

April 26, 2021 Proxy

       108.   The Company filed its 2021 Annual Proxy Statement (the “2021 Proxy”) in

connection with the 2021 annual stockholders meeting. Specifically, Defendants Aldag, Dawson,

Hamner, Mozingo, Pitman, Sparks, Stewart, and Thompson caused the Company to issue the 2021

Proxy, which contained material misstatements and omissions.

       109.   In the 2021 Proxy, these Defendants solicited stockholder votes, to among other

things: (1) re-elect themselves to the Board and (2) approve, on an advisory basis, the

compensation of named executive officers. With respect to each of these solicited votes, the

Defendants issued materially false or misleading statements.

       110.   The 2021 Proxy stated the following regarding the Board’s and the Audit

Committee’s risk oversight functions:

       Our Board plays a central role in overseeing and evaluating risks pertinent to our
       Company. While it is management’s responsibility to identify and manage our risk
       exposure on a day-to-day basis, the Board routinely discusses these risks with
       management and actively oversees our risk-management procedures and protocols.
       The Board regularly receives reports from senior management on areas of material
       risk to the Company, including operational, financial, legal, regulatory and strategic
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       risks. In addition, each of the Audit Committee, the Compensation Committee and
       the Ethics, Nominating and Corporate Governance Committee exercises oversight
       and provides guidance relating to the particular risks within the purview of each
       committee, as well as making periodic reports to the full Board. Our Board also
       oversees risk by means of the required approval by our Board of significant
       transactions and other decisions, including material acquisitions or dispositions of
       property, material capital markets transactions, significant capital improvement
       projects and important employment-related decisions.

       111.    The 2021 Proxy also listed certain responsibilities of the Audit Committee, which

at that time consisted of Defendants Dawson, Sparks, and Thompson. These responsibilities

included overseeing: “(i) our accounting and financial reporting processes, (ii) the integrity and

audits of our financial statements, (iii) our compliance with legal and regulatory requirements, (iv)

the qualifications and independence of our independent auditors, and (v) the performance of our

internal and independent auditors.”

       112.    The 2021 Proxy was materially misleading because it failed to disclose that: (1)

contrary to the 2021 Proxy’s descriptions of the Board’s risk oversight function and the Audit

Committee’s responsibilities, the Board and Audit Committee were not adequately exercising

these functions, were causing or permitting the Company to issue false and misleading statements,

and thus the Individual Defendants on the Board were breaching their fiduciary duties; (2) the

Company’s ineffective internal and disclosure controls; and (3) the Individual Defendants on the

Board at that time who were breaching their fiduciary duties were improperly interested in

increasing their unjust compensation by seeking shareholder advisory approval of the executive

officers’ compensation plan.

April 29, 2021 Form 8-K

       113.    On April 29, 2021, the Company filed a Form 8-K (the “April 2021 8-K”) with the

SEC. Defendant Hamner signed the April 2021 8-K. The April 2021 8-K contained a press release

which provided financial and operational results for the quarter ended March 31, 2021. The April
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2021 8-K reported net income for the first quarter of 2021 of $163.8 million ($0.28 per diluted

share), compared to $81 million ($0.15 per diluted share) for the first quarter of 2020.

       114.    Additionally, the April 2021 8-K reported NFFO of $243.9 million ($0.42 per

diluted share) for the first quarter of 2021, compared to $191 million ($0.37 per diluted share) for

the first quarter of 2020. Moreover, the April 2021 8- K reported FFO of $251.0 million. The April

2021 8-K also reported a $2.0 billion balance in the Investment in Financing Leases line item on

the Company’s balance sheet.

May 10, 2021 Form 10-Q

       115.    On May 10, 2021, the Company filed its quarterly report on Form 10- Q with the

SEC for the period ended March 31, 2021 (the “1Q21 10-Q”). The 1Q21 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 1Q21 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       116.    The 1Q21 10-Q stated the same financial results as the April 2021 8- K in ¶¶ 112-

113.

July 29, 2021 Form 8-K

       117.    On July 29, 2021, the Company filed a Form 8-K (the “July 2021 8- K”) with the

SEC. Defendant Hamner signed the July 2021 8-K. The July 2021 8- K contained a press release

which provided financial and operational results for the quarter ended June 30, 2021. The July

2021 8-K reported net income for the second quarter of 2021 of $114.6 million ($0.19 per diluted

share), compared to$109 million ($0.21 per diluted share) for the second quarter of 2020.

       118.    Additionally, the July 2021 8-K reported NFFO of $250.5 million ($0.43 per diluted
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share) for the second quarter of 2021, compared to $200 million ($0.38 per diluted share) for the

second quarter of 2020. Moreover, the July 2021 8-K reported FFO of $205.6 million. The July

2021 8-K also reported a $2.0 billion balance in the Investment in Financing Lease line item on

the Company’s balance sheet.

August 9, 2021 Form 10-Q

       119.    On August 9, 2021, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2021 (the “2Q21 10-Q”). The 2Q21 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 2Q21 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       120.    The 2Q21 10-Q stated the same financial results as the July 2021 8-K in ¶¶ 116-

117.

October 28, 2021 Form 8-K

       121.    On October 28, 2021, the Company filed a Form 8-K (the “October 2021 8-K”)

with the SEC. Defendant Hamner signed the October 2021 8-K. The October 2021 8-K contained

a press release which provided financial and operational results for the quarter ended September

30, 2021. The October 2021 8- K reported net income for the third quarter of 2021 of $171.1

million ($0.29 per diluted share), compared to $131 million ($0.25 per diluted share) for the third

quarter of 2020.

       122.    Additionally, the October 2021 8-K reported NFFO of $262.8 million ($0.44 per

diluted share) for the third quarter of 2021, compared to $221 million ($0.41 per diluted share) for

the third quarter of 2020. Moreover, the October 2021 8-K reported FFO of $260.0 million. The
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October 2021 8-K also reported a $2.0 billion balance in the Investment in Financing Leases line

item on the Company’s balance sheet.

November 9, 2021 Form 10-Q

       123.    On November 9, 2021, the Company filed its quarterly report on Form 10-Q with

the SEC for the period ended September 30, 2021 (the “3Q21 10-Q”). The 3Q21 10-Q was signed

by Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag

and Hamner, attesting to the accuracy of the financial statements contained in the 3Q21 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       124.    The 3Q21 10-Q stated the same financial results as the October 2021 8-K in ¶ 120-

121.

February 3, 2022 Form 8-K

       125.    On February 3, 2022, the Company filed a Form 8-K (the “February 2022 8-K”)

with the SEC. Defendant Hamner signed the February 2022 8-K. The February 2022 8-K contained

a press release which provided financial and operational results for the quarter and year ended

December 31, 2021. The February 2022 8-K reported net income for the fourth quarter and Fiscal

Year 2021 of $207 million ($0.34 per diluted share) and $656 million ($1.11 per diluted share),

respectively, compared to $110 million ($0.20 per diluted share) and $431 million ($0.81 per

diluted share) for the fourth quarter and Fiscal Year 2020, respectively.

       126.    Additionally, the February 2022 8-K reported FFO of $976.0 million for Fiscal

Year 2021. The February 2022 8-K also reported NFFO of $279 million ($0.47 per diluted share)

for the fourth quarter of 2021 and $1.0 billion ($1.75 per diluted share) for Fiscal Year 2021,

compared to $220 million ($0.41 per diluted share) for the fourth quarter of 2020 and $831 million
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($1.57 per diluted share) for Fiscal Year 2020. The February 2022 8-K also reported a $2.0 billion

balance in the Investment in Financing Leases line item on the Company’s balance sheet.

March 1, 2022 Form 10-K

        127.    On March 1, 2022, the Company filed the 2021 10-K with the SEC. The 2021 10-

K was signed by Defendants Aldag, Hamner, Dawson, Mozingo, Pitman, Sparks, Stewart, and

Thompson and contained SOX certifications, signed by Defendants Aldag and Hamner, attesting

to the accuracy of the financial statements contained in the 2021 10-K, the disclosure of any

material changes to the Company’s internal controls, and the disclosure of any fraud committed

by the Company, its officers, or its directors. The 2021 10-K stated the same financial results as

the February 2022 8-K.

        128.    The 2021 10-K stated the following about Medical Properties’ dependence on the

ability of its tenants to meet its financial obligations:

        Our revenues are dependent upon our relationships with and success of our tenants,
        particularly our largest tenants, like Steward, Circle, Prospect, Swiss Medical
        Network, and HCA.

        Our tenants’ financial performance and resulting ability to satisfy their lease and
        loan obligations to us are material to our financial results and our ability to
        service our debt and make distributions to our stockholders. We are dependent
        upon the ability of these tenants to make rent and loan payments to us, and any
        failure to meet these obligations could have a material adverse effect on our
        financial condition and results of operations.
                                              ***
        Any adverse result to our tenants (particularly Steward, Circle, Prospect, Swiss
        Medical Network, and HCA) in regulatory proceedings or financial or operational
        setbacks may have a material adverse effect on the relevant tenant’s operations
        and on its ability to make required lease and loan payments to us…

(Emphasis added.)

        129.    The 2021 10-K also stated that the Company’s financial reporting was accurate and

that none of the Company’s facilities’ values were impaired, stating the following, in relevant part:
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       When circumstances indicate a possible impairment of the value of our real estate
       investments, we review the recoverability of the facility’s carrying value. The
       review of the recoverability is generally based on our estimate of the future
       undiscounted cash flows from the facility’s use and eventual disposition. Our
       forecast of these cash flows considers factors such as expected future operating
       income, market and other applicable trends, and residual value, as well as the
       effects of leasing demand, competition, and other factors. If impairment exists due
       to the inability to recover the carrying value of a facility on an undiscounted basis,
       an impairment loss is recorded to the extent that the carrying value exceeds the
       estimated fair value of the facility. In making estimates of fair value for purposes
       of impairment assessments, we will look to a number of sources including
       independent appraisals, available broker data, or our internal data from recent
       transactions involving similar properties in similar markets. We do not believe that
       any of our facilities were impaired at December 31, 2021; however, given the
       highly specialized aspects of our properties, no assurance can be given that future
       impairment charges will not be taken.

(Emphasis added.)

April 28, 2022 Proxy Statement

       130.   The Company filed its 2022 Annual Proxy Statement (the “2022 Proxy”) in

connection with the 2022 annual stockholders meeting. Specifically, Defendants Aldag, Dawson,

Hamner, Mozingo, Murphy, Pitman, Sparks, Stewart, and Thompson caused the Company to issue

the 2022 Proxy, which contained material misstatements and omissions.

       131.   In the 2022 Proxy, these Defendants solicited stockholder votes, to among other

things: (1) re-elect themselves to the Board and (2) approve, on an advisory basis, the

compensation of named executive officers and the Amended and Restated 2019 Equity Incentive

Plan. With respect to each of these solicited votes, the Defendants issued materially false or

misleading statements.

       132.   The 2022 Proxy stated the following regarding the Board’s and the Audit

Committee’s risk oversight functions:

       Our Board plays a central role in overseeing and evaluating risks pertinent to our
       Company. While it is management’s responsibility to identify and manage our risk
       exposure on a day-to-day basis, the Board routinely discusses these risks with
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       management and actively oversees our risk-management procedures and protocols.
       The Board regularly receives reports from senior management on areas of material
       risk to the Company, including operational, financial, legal, regulatory and strategic
       risks. In addition, each of the Audit Committee, the Compensation Committee and
       the Ethics, Nominating and Corporate Governance Committee exercises oversight
       and provides guidance relating to the particular risks within the purview of each
       committee, as well as making periodic reports to the full Board. Our Board also
       oversees risk by means of the required approval by our Board of significant
       transactions and other decisions, including material acquisitions or dispositions of
       property, material capital markets transactions, significant capital improvement
       projects and important employment-related decisions.

       133.    The 2022 Proxy also listed certain responsibilities of the Audit Committee, which

at that time consisted of Defendants Dawson, Sparks, and Thompson. These responsibilities

included overseeing: “(i) our accounting and financial reporting processes, (ii) the integrity and

audits of our financial statements, (iii) our compliance with legal and regulatory requirements, (iv)

the qualifications and independence of our independent auditors, and (v) the performance of our

internal and independent auditors.”

       134.    The 2022 Proxy was materially misleading because it failed to disclose that: (1)

contrary to the 2022 Proxy’s descriptions of the Board’s risk oversight function and the Audit

Committee’s responsibilities, the Board and Audit Committee were not adequately exercising

these functions, were causing or permitting the Company to issue false and misleading statements,

and thus the Individual Defendants on the Board were breaching their fiduciary duties; (2) the

Company’s ineffective internal and disclosure controls; and (3) the Individual Defendants on the

Board at that time who were breaching their fiduciary duties were improperly interested in

increasing their unjust compensation by seeking shareholder advisory approval of the executive

officers’ compensation plan.

       135.    As a result of the material misstatements and omissions contained in the 2022

Proxy, Company shareholders, inter alia: (1) reelected Defendants Aldag, Dawson, Hamner,
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Mozingo, Murphy, Pitman, Sparks, Stewart, and Thompson to the Board, allowing them to

continue to breach their fiduciary duties to the Company; (2) approved, on an non-binding advisory

basis, the compensation of named executive officers; and (3) approved the Plan, thus allowing the

Individual Defendants to materially benefit from the false and misleading statements contained in

the 2022 Proxy.

April 28, 2022 Form 8-K

       136.    On April 28, 2022, the Company filed a Form 8-K (the “April 2022 8-K”) with the

SEC. Defendant Hamner signed the April 2022 8-K. The April 2022 8-K contained a press release

which provided financial and operational results for the quarter ended March 31, 2022. The April

2022 8-K reported net income for the first quarter of 2022 of $631.7 million ($1.05 per diluted

share), compared to $164 million ($0.28 per diluted share) for the first quarter of 2021.

       137.    Additionally, the April 2022 8-K reported NFFO of $282.5 million ($0.47 per

diluted share) for the first quarter of 2022, compared to $244 million ($0.42 per diluted share) for

the first quarter of 2021, constituting a 12% increase on a per share basis. Moreover, the April

2022 8-K reported FFO of $279.1 million. The April 2022 8-K also reported a $2.1 billion balance

in the Investment in Financing Leases line item on the Company’s balance sheet.

May 10, 2022 Form 10-Q

       138.    On May 10, 2022, the Company filed its quarterly report on Form 10- Q with the

SEC for the period ended March 31, 2022 (the “1Q22 10-Q”). The 1Q22 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 1Q22 10-Q, the
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disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       139.    The 1Q22 10-Q stated the same financial results as the April 2022 8- K in ¶¶ 135-

136.

August 3, 2022 Form 8-K

       140.    On August 3, 2022, the Company filed a Form 8-K (the “August 2022 8-K”) with

the SEC. Defendant Hamner signed the August 2022 8-K. The August 2022 8-K contained a press

release which provided financial and operational results for the quarter ended June 30, 2022. The

August 2022 8-K reported net income for the second quarter of 2022 of $189.6 million ($0.32 per

diluted share), compared to $115 million ($0.19 per diluted share) for the second quarter of 2021.

       141.    Additionally, the August 2022 8-K reported NFFO of $274.7 million ($0.46 per

diluted share) for the second quarter of 2022, compared to $251 million ($0.43 per diluted share)

for the second quarter of 2021, constituting a 7% increase on a per share basis. Moreover, the

August 2022 8-K reported FFO of $274.9 million. The August 2022 8-K also reported a $2.1

billion balance in the Investment in Financing Leases line item on the Company’s balance sheet.

August 9, 2022 Form 10-Q

       142.    On August 9, 2022, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2022 (the “2Q22 10-Q”). The 2Q22 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 2Q22 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       143.    The 2Q22 10-Q stated the same financial results as the August 2022 8-K in ¶¶ 139-
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140.

October 27, 2022 Form 8-K

       144.    On October 27, 2022, the Company filed a Form 8-K (the “October 2022 8-K”)

with the SEC. Defendant Hamner signed the October 2022 8-K. The October 2022 8-K contained

a press release which provided financial and operational results for the quarter ended September

30, 2022. The October 2022 8 - K reported net income for the third quarter of 2022 of $221.8

million ($0.37 per diluted share), compared to $171 million ($0.29 per diluted share) for the third

quarter of 2021.

       145.    Additionally, the October 2022 8-K reported NFFO of $272.3 million ($0.45 per

diluted share) for the third quarter of 2022, compared to $263 million ($0.44 per diluted share) for

the third quarter of 2021. Moreover, the October 2022 8-K reported FFO of $252.0 million. The

October 2022 8-K also reported a $2.0 billion balance in the Investment in Financing Leases line

item on the Company’s balance sheet.

November 9, 2022 Form 10-Q

       146.    On November 9, 2022, the Company filed its quarterly report on Form 10-Q with

the SEC for the period ended September 30, 2022 (the “3Q22 10-Q”). The 3Q22 10-Q was signed

by Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag

and Hamner, attesting to the accuracy of the financial statements contained in the 3Q22 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       147.    The 3Q22 10-Q stated the same financial results as the October 2022 8-K in ¶¶ 143-

144.

       148.    The statements above were materially false and misleading for the reasons
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discussed above and failed to disclose material facts necessary to make the statements not false

and misleading.

The Truth Emerges

January 26, 2023 Viceroy Report

       149.    The truth began to emerge on January 26, 2023 when Viceroy Research LLC, a

financial research investigative firm, (defined above as “Viceroy”) released a report on Medical

Properties, titled "Medical Properties (dis)Trust” (defined above as the “Viceroy Report”). The

Viceroy Report represented that the Individual Defendants had caused the Company to engage in

“billions of dollars of uncommercial transactions with its tenants and their management teams in

order to mask a pervasive revenue round-robin scheme and/or theft.” The Viceroy Report

described four types of “uncommercial transactions” by which “substantial portions of cash are

round- tripped back to [the Company].” These transactions included sale-leasebacks, cash

giveaways, bailouts, and the use of fabricated expenses pertaining to fabricated projects.

       150.    The Viceroy Report reasoned that these fraudulent transactions allowed Medical

Properties to “massively overstate” its assets. The Viceroy Report concluded that the Individual

Defendants engaged in this scheme to hide from investors the sober fact that “substantially all of

[Medical Properties’] major tenants appear distressed.” (Emphasis added.)

       151.    As previously mentioned, the Viceroy Report explained that the Individual

Defendants, through Medical Properties, deployed four distinct, but sometimes interlocking, types

of transactions to complete their scheme to trick the market into believing that the Company’s

assets were in good condition and associated with rent-paying tenants.

       152.    First, the Individual Defendants used sale-leasebacks, which allowed the Company

to acquire properties on leaseback terms that required the seller of the asset to become the tenant
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of the asset. On many occasions, the seller in the leaseback was financially distressed. The Viceroy

Report states that the Company “appear[s] to constantly overpay for fire sale assets, sometimes by

as much as 10x, which in turn allow debt-crippled tenants to meet their financial rent obligations

as and when they fall due in the short term.” Viceroy maintains that Medical Properties completed

billions of dollars of uncommercial sale-leaseback transactions to shore up assets that were not

paying rent.

        153.    Second, the Individual Defendants used cash giveaways to inject Company monies

into distressed assets. The Viceroy Report states that the Company “engages in various

transactions with a common cast of friends in which hundreds of millions of dollars go missing.

[The Company] has disappeared hundreds of millions of dollars in what appear to be fraudulent

transactions.” In this type of transaction, Medical Properties vastly overpays for an asset that is

only worth a small portion of the overall transaction. By overpaying, the Company can

clandestinely reroute some of the consideration to a “middle-man” who facilitates the transaction

and thus keeps some of the consideration for themselves. Viceroy maintains that the cash giveaway

transactions, through the use of brokers, allows the Company to move money clandestinely.

        154.    Third, the Individual Defendants sometimes used a “run-of-the-mill bailout

transaction.” The Viceroy Report maintains that the Company unloaded hundreds of millions of

dollars to financially distressed tenants in an effort to mask a failing tenant from being unable to

pay rent. These “bailouts” permitted the Company to avoid having to record an impairment charge

for its distressed assets.

        155.    Fourth, and lastly, the Individual Defendants concocted a practice of having the

Company “collude” with a tenant to create fake projects to hide money under the pretense of

fabricated expenses. Therefore, in an effort to hide the spending of the Company’s money – money
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that was spent on bailouts and other uncommercial transactions – the Individual Defendants caused

the Company to create costs and expenses from thin air.

       156.    The expansive Viceroy Report concluded that Medical Properties’ assets were

“massively overstated” and that the Company “is a subprime asset rolled-up generating prime

yields.” Several of the Viceroy Report’s “Key Takeaways” are:

       •       MPW has engaged in billions of dollars of uncommercial transactions
       with its tenants and their management teams in order to mask a pervasive revenue
       round-robin scheme and / or theft.


       •       The value of MPW’s assets, as a result of capitalizing these uncommercial
       transactions, are massively overstated.


       •       MPW engaged in an aggressive, debt-fuelled [sic] roll-up strategy in order
       to affect these transactions. We believe the true value of MPW’s LTV is ~85%,
       creating enormous credit risk.


       •      Many of MPW’s tenants are severely distressed. This precedes the need to
       engage in revenue round-robin transactions.


       •      Financial accounting gimmicks ensure MPW’s management are
       incentivised [sic] to continue engaging in uncommercial transactions and
       possible fraud. These align with management incentive schemes.

(Emphasis added.)

       157.    The Viceroy Report also stated that the Individual Defendants were motivated to

perpetuate their false and misleading financial statements due to personal financial incentives, as

their performance-based compensation was tied to FFO and other financial metrics. In relevant

part, the Viceroy Report stated the following:

       •       “Substantially all executive performance-based incentives are tied to FFO,
       FFO Growth, EBITDA, and ‘Acquisitions.’” … M]anagement has consistently
       scraped the bottom of the barrel in its search for new properties and new tenants.
       All these transactions will look good on paper. All these transactions will qualify
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       executives for bonuses.”

       158.    Essentially, the Individual Defendants were heavily incentivized to rabidly pursue

acquisitions and avoid issuing impairment charges since the impairment charges would have

lowered FFO and EBITDA, which in turn would have lowered the Individual Defendants’

performance-based compensation. Similarly, the Individual Defendants received more

compensation for the more acquisitions they completed, so the Individual Defendants were heavily

incentivized to pursue boundless and financially unhealthy acquisitions, thereby damaging the

Company and its shareholders.

       159.    Almost a month after the Viceroy Report was published, on February 23, 2023, the

truth began to emerge. On that day, Medical Properties released its fourth quarter of 2022 and

Fiscal Year 2022 results in a Form 8-K filed with the SEC, which lent support to the explosive

allegations contained in the Viceroy Report.

       160.    The Form 8-K disclosed that the Company was recording an impairment charge

of $171 million pertaining to the Pennsylvania Facilities, as well as a write-off of an additional

$112 million on unbilled rent to Prospect, for a combined total impairment charge of $283

million. In particular, the Company stated the following:

       [F]ourth quarter 2022 net loss and full-year 2022 net income included a real estate
       impairment of approximately $171 million related to four properties leased to
       Prospect Medical Holdings (“Prospect”) in Pennsylvania as well as a write-off of
       roughly $112 million in unbilled Prospect rent also included in Funds from
       Operations (“FFO”) but excluded from normalized results.

(Emphasis added).

       161.    On this news, the price per share of the Company’s common stock fell $1.06 per

share, from its close price of $12.20 per share on February 22, 2023, to close at $11.14 per share

on February 23, 2023, representing a decline of approximately 8.7%. As the market continued to
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process this newly disclosed information, Medical Properties’ stock price continued to plummet.

Subsequent Developments and Further Misleading Statements

March 1, 2023 Form 10-K

        162.     On March 1, 2023, the Company filed its annual report for the Fiscal Year 2022 on

Form 10-K with the SEC (the “2022 10-K”). The 2022 10-K was signed by Defendants Aldag,

Hamner, Dawson, Mozingo, Murphy, Pitman, Sparks, Stewart, and Thompson and contained SOX

certifications, signed by Defendants Aldag and Hamner, attesting to the accuracy of the financial

statements contained in the 2022 10-K, the disclosure of any material changes to the Company’s

internal controls, and the disclosure of any fraud committed by the Company, its officers, or its

directors.

        163.     The 2022 10-K stated the following about the $283 million impairment charge, in

relevant part:

        Prospect (like other healthcare systems around the world) struggled through the
        COVID-19 pandemic, starting in early 2020 and continuing through much of the
        2022 first quarter with the impact from the Omicron variant. Although admissions,
        surgeries, and ER visits are back above pre-COVID levels at their California and
        Connecticut properties, Prospect’s four Pennsylvania facilities are still trailing.
        Now with the impact of higher labor and other costs due to inflation, Prospect has
        experienced a decline in cash flows during 2022. Prospect has been working
        through various restructuring plans to manage their cash flow. Some of these plans
        have made it to the binding commitment stage, including the expected sale of their
        Connecticut properties to Yale New Haven Health (“Yale”) announced in October
        2022, while others have not.

        Until the 2022 fourth quarter, Prospect was current on its rent and interest
        obligations under the various agreements. However, with rent and interest now
        past due and certain of Prospect’s restructuring plans yet to be finalized, we
        recorded an approximate $280 million impairment charge in the 2022 fourth
        quarter, as shown in “Real estate and other impairment charges, net” on the
        consolidated statements of net income. As part of this charge, we reduced the
        carrying value of the underperforming Pennsylvania properties by approximately
        $170 million (to approximately $250 million) and reserved all non-cash rent [due
        from Prospect] for a total of $112 million. We expect to record rent on our
        Prospect leases on a cash basis for the foreseeable future.
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(Emphasis added).

April 27, 2023 Proxy Statement

       164.    The Company filed its 2023 Proxy in connection with the 2023 annual

stockholders meeting. Specifically, Defendants Aldag, Dawson, Hamner, Mozingo, Murphy,

Pitman, Sparks, Stewart, and Thompson caused the Company to issue the 2023 Proxy, which

contained material misstatements and omissions.

       165.    In the 2023 Proxy, these Defendants solicited stockholder votes, to among other

things: (1) re-elect themselves to the Board and (2) approve, on an advisory basis, the

compensation of named executive officers. With respect to each of these solicited votes, the

Defendants issued materially false or misleading statements.

       166.    The 2023 Proxy stated the following regarding the Board’s and the Audit

Committee’s risk oversight functions:

       Our Board plays a central role in overseeing and evaluating risks pertinent to our
       Company. While it is management’s responsibility to identify and manage our risk
       exposure on a day-to-day basis, the Board routinely discusses these risks with
       management and actively oversees our risk-management procedures and protocols.
       The Board regularly receives reports from senior management on areas of material
       risk to the Company, including operational, financial, legal, regulatory and strategic
       risks. In addition, each of the various Committees exercises oversight and provides
       guidance relating to the particular risks within the purview of each committee, as
       well as making periodic reports to the full Board. Our Board also oversees risk by
       means of the required approval by our Board for significant transactions and other
       decisions, including material acquisitions or dispositions of property, material
       capital markets transactions, significant capital improvement projects and
       important employment-related decisions.

       167.    The 2023 Proxy also listed certain responsibilities of the Audit Committee, which

at that time consisted of Defendants Dawson, Sparks, and Thompson. These responsibilities

included overseeing: “(i) our accounting and financial reporting processes, (ii) the integrity and

audits of our financial statements, (iii) our compliance with legal and regulatory requirements,
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(iv) the qualifications and independence of our independent auditors, and (v) the performance of

our internal and independent auditors.”

       168.    The 2023 Proxy was materially misleading because it failed to disclose that: (1)

contrary to the 2023 Proxy’s descriptions of the Board’s risk oversight function and the Audit

Committee’s responsibilities, the Board and Audit Committee were not adequately exercising

these functions, were causing or permitting the Company to issue false and misleading

statements, and thus the Individual Defendants on the Board were breaching their fiduciary

duties and (2) the Company’s ineffective internal and disclosure controls.

       169.    As a result of the material misstatements and omissions contained in the 2023

Proxy, Company shareholders, inter alia: (1) reelected Defendants Aldag, Dawson, Hamner,

Mozingo, Murphy, Pitman, Sparks, Stewart, and Thompson to the Board, allowing them to

continue to breach their fiduciary duties to the Company; and (2) approved, on an non-binding

advisory basis, the compensation of named executive officers.

May 10 , 2023 Form 10-Q

       170.    On May 10, 2023, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended March 30, 2023 (the “1Q23 10-Q”). The 1Q23 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 1Q23 10-Q, the

disclosure of any material changes to the Company's internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       171.    At this time the Company still failed to take any impairment charge or mention the

financial condition of Steward, despite its knowledge of the poor financial condition of Steward.
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August 9, 2023 Form 10-Q

       172.    On August 9, 2023, the Company filed its quarterly report on Form 10-Q with the

SEC for the period ended June 30, 2023 (the “2Q23 10-Q”). The 2Q23 10-Q was signed by

Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag and

Hamner, attesting to the accuracy of the financial statements contained in the 2Q23 10-Q, the

disclosure of any material changes to the Company's internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       173.    The Company announced that “On March 14, 2022, we completed a transaction

with Macquarie Asset Management (“MAM”), an unrelated party, to form a partnership (the

“Macquarie Transaction”), pursuant to which we contributed eight Massachusetts-based general

acute care hospitals that are leased to Steward Health Care System LLC (“Steward”), and a fund

managed by MAM acquired, for cash consideration, a 50% interest in the partnership. The

transaction valued the portfolio at approximately $1.7 billion, and we recognized a gain on sale of

real estate of approximately $600 million from this transaction, partially offset by the write-off of

unbilled straight-line rent receivables. The partnership raised nonrecourse secured debt of 55% of

asset value, and we received proceeds, including from the secured debt, of approximately $1.3

billion. We obtained a 50% interest in the real estate partnership valued at approximately $400

million (included in the “Investments in unconsolidated real estate joint ventures” line of our

condensed consolidated balance sheets), which is being accounted for under the equity method of

accounting. In connection with this transaction, we separated the eight Massachusetts-based

facilities into a new master lease with terms generally identical to the other master lease, and the

initial fixed lease term of both master leases was extended to 2041.”

       174.    On November 9, 2023, the Company filed its quarterly report on Form 10-Q with
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the SEC for the period ended September 30, 2023 (the “3Q23 10-Q”). The 3Q23 10-Q was signed

by Defendants Aldag and Hamner and contained SOX certifications, signed by Defendants Aldag

and Hamner, attesting to the accuracy of the financial statements contained in the 3Q23 10-Q, the

disclosure of any material changes to the Company’s internal controls, and the disclosure of any

fraud committed by the Company, its officers, or its directors.

       175.    The 3Q23 10-Q stated in relevant part:

       Steward is current through September on its rent and interest obligations pursuant
       to the various lease and loan agreements, although a portion of September rent was
       paid in early October; similarly, a portion of October rent was paid timely and the
       remainder is expected to be paid in mid-November. Steward’s cash flows from
       operations have been impacted by challenges related to revenue cycle management
       and a backlog of accounts payable. Steward’s management has described to us its
       plans for continued improvements to profitability, access to working capital
       liquidity, and sales of certain non-core assets. Based on these initiatives, the
       reported profitability of Steward's operations at our facilities, our cross-defaulted
       master lease structure, and the additional security of our overall collateral interests,
       we believe that Steward will be able to satisfy its rental obligations over the full
       term of our master leases. However, no assurances can be given that we will not
       have any impairment charges in the future.
       (emphasis added).

       176.    Contrary to the Company’s statements, the Company was well aware of the

precariousness of Steward’s financial condition.

       177.    On January 4, 2024, after the stock market had closed, the Company issued a press

release, which was filed with the SEC on a Form 8-K.

       178.    The Form 8-K disclosed that total unpaid rent under its lease with Steward is

approximately $50 million as of December 31, 2023 (exclusive of approximately $50 million that

was previously deferred and not currently payable related to the Norwood Hospital, which is under

reconstruction). The Company further stated it was recording a write-off consolidated straight-

line receivables of approximately $225 million, its approximately $25 million share of straight-

line rent receivables related to the unconsolidated Massachusetts partnership and consolidated
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unpaid rent receivables of approximately $100 million (which includes the previously

referenced $50 million related to the Norwood development).

       179.    The Company further announced it had engaged Alvarez & Marsal Securities, LLC

(“A&M”) as its financial advisor and KTBS Law, LLP and Baker, Donelson, Bearman, Caldwell

& Berkowitz, PC as legal advisors to advise the Company on its options to enable the recovery of

uncollected rent and outstanding loans. Additionally, the Company announced the establishment

of a “transformation committee” comprised of newly appointed independent directors to help

improve overall governance.

       180.    On this news, the price per share of the Company’s common stock fell $1.45, or

approximately 29%, from closing at $5 per share on January 4, 2024, to close at $3.55 per share

on January 5, 2024.

The Individual Defendants’ Knowledge of the Misconduct

       181.    The Individual Defendants knew, or were reckless in not knowing, the distressed

conditions of its tenants prior to 2022. Further, the Individual Defendants knew, or were reckless

in not knowing, that the Company should have therefore recorded an impairment charge much

earlier than the fourth quarter of 2022 and then again in 2024. Indeed, Medical Properties’ own

financial filings, third-party publications, governmental investigations, and the resignation of a

trusted Company officer and co-founder, taken together, all support that the Individual Defendants

knew or were reckless in not knowing that the tenants at issue could not pay their rents, and

consequently, that impairment charges would have to be issued for them.

       182.    For instance, the 2022 10-K stated that “Prospect … struggled through the COVID-

19 pandemic, starting in early 2020 and continuing through much of the 2022 first quarter.” The

2022 10-K also represented that the Pennsylvania Facilities had been suffering since 2020,
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reporting that “Although admissions, surgeries, and ER visits are back above pre-COVID levels

at their California and Connecticut properties, Prospect’s four Pennsylvania facilities are still

trailing.” These statements are not the product of any new developments during the fourth quarter

of 2022; rather, they were facts already known to the Individual Defendants as early as 2020. Yet,

the Individual Defendants chose not to disclose them.

       183.    Moreover, other entities frequently discussed the Prospect Facilities’ precarious

financial position and poor liquidity publicly, even before Medical Properties bought the Prospect

Facilities in August 2019. For example, as reflected in the Viceroy Report, Moody’s, a premier

credit rating agency, downgraded the Prospect Facilities’ credit rating to “junk status” in March

2019 because of “poor liquidity outlook and leverage levels.” The Individual Defendants, as part

of their run-of-the-mill due diligence from acquiring the Prospect Facilities, should have been

aware of the Prospect Facilities’ financial plight.

       184.    Similarly, on July 31, 2020, the Private Equity Stakeholder Project, a nonprofit

group, published an article titled “Broken Promises: Regulators Question Leonard Green’s

Investment in Prospect Medical Holdings.” The article stated that the deal between Medical

Properties and the Prospect Facilities left the Prospect Facilities worse off and further questioned

Prospect’s ability to pay rent to the Company for the use of its facilities, stating the following:

[T]he sale-leaseback of almost all of Prospect’s real estate [to Medical Properties] left [Prospect]

in a worse financial position than before the transaction.

       In 2019, in an effort to pay down some of the existing $1.1 billion debt it had
       accrued …, Prospect sold much of its hospitals’ real estate to Medical Properties
       Trust and leased it back. Prospect … characterized the sale-leaseback transaction
       as beneficial to the hospital company, though this is misleading; the sale-leaseback
       merely replaced debt with lease liabilities and left Prospect with fewer assets.

       Prospect pays Medical Properties Trust around $116 million per year in rent.
       Even before COVID-19, it was not clear how Prospect would be able to pay the
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        rent it owes Medical Properties Trust… 2

(Emphasis added).

        185.    Just about two months later, on September 30, 2020, ProPublica published an article

titled “Investors Extracted $400 Million From a Hospital Chain That Sometimes Couldn’t Pay for

Medical Supplies or Gas for Ambulances.” Notably, the article referenced the Prospect Facilities’

poor liquidity and overall financial condition, stating the following:

        Paramedics for Prospect’s hospital near Philadelphia told ProPublica that they’ve
        repeatedly gone to fuel up their ambulances only to come away empty at the pump.
        Their hospital supplied gas cards were rejected because Prospect hadn’t paid its
        bill. A similar penury afflicts medical supplies. “Say we need 4x4 sponges, dressing
        for a patient, IV fluids,” said Leslie Heygood, a veteran registered nurse at one of
        Prospect’s Pennsylvania hospitals, “we might not have it on the shelf because it’s
        on ‘credit hold’ because they haven’t paid their creditors.”

        As elsewhere, Prospect’s failure to pay bills on time has delayed repairs and
        resulted in supply shortages. At Delaware County Hospital [in Pennsylvania],
        veteran nurse Angela Neopolitano said … “Creditors would not come in to fix
        things because the hospital owed them money” 3

(Emphasis added).

        186.    On June 1, 2021, the Rhode Island Attorney General issued a decision concluding

that the Prospect Facilities were in poor financial condition, almost two years before the Individual

Defendants chose to record the necessary $283 impairment charge pertaining to the Prospect

Facilities. 4 The decision stated the following, in relevant part:


2
   “Broken Promises: Regulators Question Leonard Green’s Investment in Prospect Medical
Holdings,” Private Equity Stakeholder Project, July 31, 2020 (pestakeholder.org).
3
  “Investors Extracted $400 Million From a Hospital Chain That Sometimes Couldn’t Pay for
Medical Supplies or Gas for Ambulances,” ProPublica, September 30, 2020.
4
  Decision Re: Initial Application of Chamber Inc.; Ivy Holdings Inc.; Ivy Intermediate Holdings,
Inc.; Prospect Medical Holdings, Inc.; Prospect East Holdings, Inc.; Prospect East Hospital
Advisory Services, LLC; Prospect CharterCARE, LLC; Prospect CharterCARE SJHSRI, LLC;
Prospect CharterCARE RWMC, LLC, Jun 1, 2021,
https://riag.ri.gov/sites/g/files/xkgbur496/files/documents/Prospect_Chamber_Ivy
_AG_HCA_Decision.pdf.
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      Our investigation revealed a company [Prospect] whose … liabilities now exceed
      assets by over $1 billion [as of September 30, 2020] … [T]his debt-to-asset ratio
      raises a concern for the Attorney General that the national company … can become
      unstable, disrupting and even threatening Rhode Island’s third largest hospital
      system. In other words, PMH [Prospect Medical Holdings] is a system that is at risk
      of developing a lack of financial ability to respond to the volatility of the
      healthcare market, putting every hospital in its system … at risk of reduction in
      services, sale, or closure.

      PMH … has and continues to struggle financially. See, e.g., PYA Report 19
      (explaining that “PMH has reported limited liquidity and a highly leveraged
      position in recent fiscal years”); … During the 6- year period from … 2015 to …
      2020, the company took a cumulative comprehensive loss of $603 million, and has
      seen its long-term debt increase from $451 million in … 2015 to almost $1.6 billion
      in … 2020.
      What is more, the company’s ballooning debt has not always translated into
      enough liquidity to pay its bills … PMH is a highly leveraged company that
      continues to have large annual losses.

      PMH’s ability to meet its medium- and long-term debt obligations are becoming
      more uncertain with each passing year.

      Another metric used to gauge a company’s financial health is the quick ratio. This
      ratio measures a company’s liquidity, that is, its ability to cover short-term financial
      obligations such as payroll, vendor invoices, and outstanding or impending interest
      payments … In essence, the lower the value of this ratio, the more likely it is that a
      company will be unable to pay its bills … The following chart (“Table 2”) plots
      PMH’s quick ratios from … 2015 through … 2020, which are based on PMH’s
      audited financial statements and calculated by the Attorney General’s financial
      expert … As Table 2 shows, PMH’s quick ratio was under 1.0 at the end of every
      Fiscal Year from 2015 to 2020, meaning that the company had less than $1 to
      cover every $1 in short-term financial obligations … The Attorney General sees
      this as creating a circumstance where PMH will not be able to find operational
      cash when it is needed. See Carris Report 9 (“PMH has sold substantially all its
      real property [to Medical Properties] … There is very little left to leverage to
      provide liquidity.”) … PMH’s ratio lagged the median ratio of publicly traded
      hospital companies, which remained over 1.0 from … 2015 to … 2019. This
      indicates that PMH was at a relatively higher risk of running out of cash or other
      liquid assets to meet its short-term financial obligations than its publicly traded
      counterparts.

(Emphasis added).

      187.   The Rhode Island Attorney General also stated that the Prospect Facilities’ lease

payments and loan payments to the Company worsened the Prospect Facilities’ financial
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predicament, noting the following:

       A considerable portion of the … $3.1 billion in liabilities currently on PMH’s
       books is the result of three transactions PMH entered into with Medical
       Properties Trust, Inc. (“MPT”) in 2019 … In the first of these, PMH sold its
       hospitals in Connecticut, Pennsylvania, and all but one of its hospitals in California
       to MPT for approximately $1.4 billion. MPT then leased these hospitals back to
       PMH. PMH, according to its agreement with MPT, will pay rent for at least the
       next 15 years in order to continue operating In the second transaction, PMH took
       out a ~$51 million mortgage on one of its California hospitals; this mortgage is at
       a 7.5% interest rate per annum … And in the third transaction, PMH signed a
       promissory note in exchange for $113 million from MPT, referred to herein as the
       “TRS Note.” Interest on the note is 7.5% per annum and subject to an annual
       escalation clause … The Attorney General has addressed this threat to the Rhode
       Island Hospitals’ real estate by prohibiting it from being pledged or used as
       collateral unless approved by the Attorney General.

(Emphasis added).

       188.      The Rhode Island Attorney General’s expert witness even stated that the Prospect

Facilities would endure a “liquidity crisis…within 18 to 24 months,” stating the following, in

relevant part:

       While I do not believe that PMH faces a liquidity crisis in the next twelve months,
       I believe it will come sooner rather than later, probably within 18 to 24 months.
       They cannot continue to have significant operating losses and fund necessary
       capital projects and expect to survive long-term.

(Emphasis added.)

       189.      Moreover, the Rhode Island Attorney General’s decision included several of the

Prospect Facilities’ 2020 and earlier financial statements, which were available to the Individual

Defendants when they conducted due diligence in connection with their Prospect transactions.

Critically, the financial statements demonstrated that the Prospect Facilities suffered losses of $100

million in 2020, $298 million in 2019, and $244 million in 2018. The financial statements also

revealed that the Prospect Facilities’ net revenue fell every year from 2018 to 2020. The

remarkably poor financial condition of the Prospect Facilities financial statements coupled with
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the Company’s purported practice of closely watching and analyzing its tenants’ financial

situations, demonstrate that the Individual Defendants were aware of the Prospect Facilities’

financial plight, especially in light of the sheer size of the Prospect Facilities and their overall

importance to the Company’s bottom line.

       190.    On March 9, 2022, the Private Equity Stakeholder Project published another article

on the poor financial conditions of the Pennsylvania Facilities, titled “Prospect Medical Holdings

Continues to Sell Off Its Hospitals, Leaving Patient Care in Question.” 5 The article found the

following about the Pennsylvania Facilities: “Crozer[] … ‘laid off about 100 employees earlier

this month, including the executive suite … Last month, Prospect closed the maternity ward at

Delaware County Memorial and suspended all inpatient services at Springfield. It is closing the

10-bed hospice unit at Taylor Hospital Friday.’”

       191.    Several months later, on September 19, 2022, Credit Suisse published an analyst

report that stated Prospect had a “weak liquidity profile,” and went on to state the following:

       Prospect, MPW’s third largest tenant . . . , reported a . . . rent coverage [ratio] of
       0.6x in 2Q22. Though a smaller tenant than Steward, this presents a much larger
       concern in our opinion given the dire financial situation [at Prospect], string of
       executive layoffs, staff shortages and recent legal action by Delaware County in
       Pennsylvania to force Prospect to keep essential parts of its hospitals running
       [There are] poor financial condition[s] and operating challenges at quite a few of
       the Prospect operated hospitals that are owned by MPW.

       We note that Prospect was actively seeking to sell its operations in Delaware
       County, Pennsylvania and in the State of Connecticut but the Delaware County,
       Pennsylvania transaction with ChristianaCare has fallen apart which again raises
       concern about potential sources of cash for Prospect to meet its obligations.

       (Emphasis added).




5
 “Prospect Medical Holdings Continues to Sell Off Its Hospitals, Leaving Patient Care in
Question,” Private Equity Stakeholder Project, March 9, 2022, (pestakeholder.org).
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       192.    On October 27, 2022, Defendant Aldag, in an earnings call with investors and

analysts, admitted that the Pennsylvania Facilities struggled to pay rent. Indeed, when an analyst

asked, “What’s your confidence around that rent [from Prospect] being current going forward?”

Defendant Aldag responded, “The Pennsylvania facilities are not where we would like them to be,

certainly disappointed in where they are.”

       193.    Similarly, the Individual Defendants knew, or were reckless in not knowing, that

Steward was financially distressed well before 2024, and should have acknowledged the same

much earlier than it did. Moreover, their failure to acknowledge the true financial condition of

Steward until January 2024 is especially brazen, as the Company should have taken extreme care

to reveal the true condition of the Company and its biggest tenant, Steward, after the impairment

taken in the fourth quarter of 2022 and subsequent lawsuits.

       194.    For example, the Wall Street Journal published an article on February 14, 2022,

discussing Steward’s financial struggles, titled “How a Small Alabama Company Fueled Private

Equity’s Push Into Hospitals.” The article first detailed how MPT financed Stewards’ revenue

growth between 2017 and 2019, “at times paying premium prices.” “In 2019, Steward bought a

West Texas Hospital for $11.7 million,” selling it the same day to MPT for $26 million and

“agreeing to lease it back.” The article went on to state the following:

       Mr. Aldag told analysts in 2018 that Steward was on track for a “record year.”
       When the company’s financial statements came out, however, they showed Steward
       had actually lost around $271 million, compared with a net loss of roughly $207
       million the prior year…

       Some of Steward’s hospitals reduced services or shut their doors completely. In
       Youngstown, Ohio, a Steward hospital closed about a year and a half after a deal to
       sell its real estate to MPT. The hospital was the last to offer childbirth in the city….

       Despite the MPT-financed growth, Steward struggled to turn a profit. Former
       Steward executives said the company at times delayed paying vendors, and it has
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        been sued by a nurse-staffing company for allegedly withholding more than $40
        million of payments, which Steward has denied…

        After Covid-19 arrived, Steward told Pennsylvania’s government it would shut
        down one of its hospitals in the state unless it received $40 million of financial
        relief. That hospital was saved when a local nonprofit operator agreed to buy it from
        Steward. Steward got more than $441 million of government relief funds in 2020,
        according to its financial statements, but saw its annual net loss reach $408
        million….

        195.    A Boston Globe article, dated January 19, 2024, entitled “Steward Health Care’s

financial issues could spell catastrophe for the state” publicized the fact that “[f]or years [Steward]

has not filed financial disclosures that other hospitals routinely provide to the state,” and noted that

“even without financial disclosures, public records reveal some issues. A Globe review found,

based on state court records that “Steward was the subject of at least 14 Massachusetts lawsuits

filed by vendors and employees over unpaid invoices since 2022,” with the sums at issue

“rang[ing] from thousands to tens of millions of dollars.”

        196.    The Wall Street Journal further stated in a January 25, 2024, article entitled

“Nation’s Biggest Hospital Landlord Suffers New Losses,” that “[d]uring a conference call with

analysts in August, MPT’s chief financial officer, Steven Hamner, said MPT planned to file

Steward’s 2022 financial statement once the company received them…at the request of the

Securities and Exchange Commission, [with him pointing] to SEC rules requiring such disclosures

if a single tenant represents a significant portion of a company’s assets.” However, “to date, MPT

hasn’t disclosed Steward’s 2022 financial statements.”

        197.    A follow-up Boston Globe article dated January 25, 2024, entitled “Steward’s

medical devices were repossessed. Weeks later, a new mother died,” noted that weeks prior to

October 2023, the hospital’s inventory of certain devices had been repossessed due to unpaid bills,

and that “similar invoices had been going unpaid for more than a year throughout the nine-hospital
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Steward system in Massachusetts – from elevator repair companies to staffing agencies that

employ front-line workers.”

       198.    Finally, the American Prospect published an article on January 26, 2024, entitled

“Massachusetts Wakes Up to a Hospital Nightmare,” stated the following:

       Post-Cerberus, when Steward should have been in bankruptcy court, its story
       instead got much wilder. For some reason, de la Torre had so ingratiated himself to
       MPT founder/CEO Ed Aldag, whose $1.25 billion purchase of Steward’s real estate
       had enabled Cerberus to get its requisite windfall, that MPT kept plowing money
       into Steward for no apparent reason. MPT financed Steward’s purchases of dozens
       of Sun Belt hospitals and random international forays like the Malta venture, while
       lending money to help it make the $400 million-plus annual rent payments it owed
       back to MPT. The investment trust even lent de la Torre the cash to buy out
       Cerberus in 2021, after which the former cardiac surgeon issued Steward’s
       shareholders—who mostly consisted of de la Torre himself—a $110 million
       dividend. In all, MPT has shoveled at least $5.5 billion into Steward over the past
       eight years. MPT now claims it is owed $50 million in back rent by the health
       system, but a cash flow analysis by the REIT analyst Robert Simone, who has been
       covering MPT’s demise for the research firm Hedgeye, suggests Steward’s unpaid
       rent bill to MPT for the past two years alone totals at least $261 million. (emphasis
       added).

                                DERIVATIVE ALLEGATIONS

       199.    Plaintiff brings this action derivatively to redress injuries suffered by Medical

Properties as a result of the breaches of fiduciary duties violations of Section 14(a) of the Exchange

Act, unjust enrichment, and waste of corporate assets, as well as for contribution under Sections

10(b) and 21D of the Exchange Act.

       200.    Plaintiff owned Medical Properties stock during the time of the wrongful course of

conduct constituting the basis for the claims asserted herein and continues to hold such stock.

       201.    Plaintiff’s stock value was significantly reduced and negatively impacted as a result

of the action and/or inactions as alleged herein.

       202.    Plaintiff’s claim and economic position is not antagonistic to the other shareholders,

whose stock value(s) were also significantly and negatively impacted by Defendants’ actions
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and/or inactions as alleged herein.

        203.    Plaintiff will adequately and fairly represent the interests of Medical Properties and

its shareholders in enforcing and prosecuting its rights, and has retained competent counsel,

experienced in derivative litigation, to enforce and prosecute this action.

                              DEMAND FUTILITY ALLEGATIONS

        204.    Plaintiff incorporates by reference and realleges each and every allegation stated

above as if fully set forth herein.

        205.    A pre-suit demand on the Board of Medical Properties is futile and, therefore,

excused. At the time of filing of this action, the Board consists of the following nine individuals:

Defendants Aldag, Dawson, Hamner, Mozingo, Murphy, Pitman, Sparks, Stewart, and Thompson

(the “Directors”). Plaintiff needs only to allege demand futility as to five of nine Directors who

are on the Board at the time this action is commenced.

        206.    Demand is excused as to all of the Directors because each one of them faces,

individually and collectively, a substantial likelihood of liability as a result of the scheme they

engaged in knowingly or recklessly to make and/or cause the Company to make false and

misleading statements and omissions of material facts, which renders them unable to impartially

investigate the charges and decide whether to pursue action against themselves and the other

perpetrators of the scheme.

        207.    Moreover, regarding Plaintiff’s Section 14(a) claim in particular, demand on the

Directors would be futile because each Director solicited the 2022 Proxy which, inter alia, called

for shareholders to approve the Amended and Restated 2019 Equity Incentive Plan (defined above

as the “Plan”), which also provided for an additional 16,000,000 shares to be issued in connection

with approving the Plan. The misrepresentations and omissions set forth herein were material to
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shareholders in voting on approval of the Plan who would not have approved the Plan had they

been informed about the wrongdoing alleged herein. Under the Plan, the total annual compensation

paid to any non-employee director, inclusive of cash compensation and amounts awarded under

the Plan, shall not exceed $1,000,000 for that calendar year. However, as mentioned above, for the

Fiscal Year 2022, Directors Dawson, Mozingo, Murphy, Pitman, Sparks, Stewart, and Thompson

received $275,475, $270,475, $207,538, $285,475, $255,475, $290,475, and $270,475,

respectively, in total compensation. Because Directors Dawson, Mozingo, Murphy, Pitman,

Sparks, Stewart, and Thompson solicited approval for the Plan which, inter alia, could have more

than tripled their total annual compensation, demand is futile as to them and, thus, excused.

       208.    Defendants Thompson, Stewart, and Sparks (the “Compensation Committee

Directors”) served as members of the Compensation Committee during the Relevant Period. The

Compensation Committee Directors solicited shareholder approval of the Plan, which granted

them the right to determine how many shares of Company common stock to administer under the

Plan to non-employee directors, including themselves. They all stood to benefit from, and did

benefit from, shareholder approval of the Plan, which Company shareholders were deceived into

approving while the Individual Defendants made false and misleading statements regarding the

Company’s operations and prospects. Thus, non-employee Directors Dawson, Mozingo, Murphy,

and Pitman were beholden to the Compensation Committee Directors, and the Compensation

Committee Directors were beholden to each other, because they would not take action against the

very directors who held the authority to award them more than triple their total annual

compensation pursuant to the Plan. These conflicts of interest precluded the Compensation

Committee Directors and the rest of the Directors from calling into question the Directors and

other Individual Defendants’ conduct. Thus, demand upon the Compensation Committee Directors
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would be futile.

       209.    In complete abdication of their fiduciary duties, the Directors either knowingly or

recklessly participated in the foregoing scheme. The fraudulent scheme was intended to make the

Company appear more profitable and attractive to investors. Moreover, the Directors caused the

Company to fail to maintain internal controls over financial reporting and to fail to maintain

effective disclosure controls and procedures. As a result of the foregoing, the Directors breached

their fiduciary duties, face a substantial likelihood of liability, are not disinterested, and demand

upon them is futile, and thus excused.

       210.    Additional reasons that demand on Defendant Aldag is futile follow. Defendant

Aldag is a co-founder of the Company and has served as the Chairman of the Board, CEO, and

President since the Company’s inception in 2003. Thus, as the Company admits, he is a non-

independent director. The Company provides Defendant Aldag with his principal occupation for

which he receives spectacular compensation. For instance, Defendant Aldag has received more

than $67 million in compensation from the Company between 2019 and 2022. As the Company’s

highest and most trusted officer and director, he conducted little, if any, oversight of the scheme

to cause the Company to make false and misleading statements, consciously disregarded his duties

to monitor internal controls over reporting and engagement in the scheme, and consciously

disregarded his duties to protect corporate assets. In addition, Defendant Aldag signed, and thus

personally made, the false and misleading statements contained in the 2019, 2020 and 2021 10-

Ks. Moreover, the 2021, 2022 and 2023 Proxy statements were solicited on his behalf, and the

false and misleading statements contained therein contributed to his reelection to the Board and to

the shareholders approving the Plan, which he improperly benefitted from. His insider sales made

before the fraud was exposed, which coincided with Defendants’ false and misleading statements
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referenced herein, yielded approximately $37.6 million in proceeds and demonstrate his motive

in facilitating and participating in the fraud. Moreover, Defendant Aldag is a defendant in the

Securities Class Action. For these reasons, Defendant Aldag breached his fiduciary duties, faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.

       211.    Additional reasons that demand on Defendant Dawson is futile follow. Defendant

Dawson has served as a Company director since 2004. He also serves as Chair of the Audit

Committee and as a member of the Investment Committee. Defendant Dawson signed, and thus

personally made, the false and misleading statements contained in the 2019, 2020 and 2021 10-

Ks. Moreover, the 2021, 2022 and 2023 Proxy statements were solicited on his behalf, and the

false and misleading statements contained therein contributed to his reelection to the Board and to

shareholders approving the Plan, which he improperly benefitted from. His insider sale before the

fraud was exposed, which coincided with him and the Company making false and misleading

statements, yielded approximately $135,091 in proceeds and demonstrate his motive in facilitating

and participating in the fraud. As a trusted director throughout the Relevant Period, he conducted

little, if any, oversight of the scheme to cause the Company to make false and misleading

statements, consciously disregarded his duties to monitor internal controls over reporting and

engagement in the scheme, and consciously disregarded his duties to protect corporate assets. He

also receives handsome compensation from the Company. Moreover, he served as a member of

Medical Properties’ Audit Committee and, in that capacity, he failed to oversee, inter alia, the

integrity of the Company’s financial statements, the Company’s internal control over financial

reporting, and the effectiveness of its disclosure controls and procedures, as he was required to do

under the Audit Committee Charter. For these reasons, Defendant Dawson breached his fiduciary
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duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon him is futile and, therefore, excused.

       212.    Additional reasons that demand on Defendant Hamner is futile follow. Defendant

Hamner has served as a Company director since 2005 and as the Company’s Executive Vice

President and CFO since 2003. Therefore, as the Company admits, he is a non-independent

director. He also currently serves as a member of the Investment Committee and the Risk

Committee. He receives lavish compensation for his role, amounting to over $34 million between

2019 and 2022. Defendant Hamner signed, and thus personally made, the false and misleading

statements contained in the 2019, 2020 and 2021 10-Ks. The 2021, 2022, and 2023 Proxy

statements were solicited on his behalf, and the false and misleading statements contained therein

contributed to his reelection to the Board and to shareholders approving the Plan, which he

improperly benefitted from. His insider sales made before the fraud was exposed, which coincided

with he and the Company making false and misleading statements, yielded approximately $18.5

million in proceeds and demonstrate his motive in facilitating and participating in the fraud.

Moreover, Defendant Hamner is a defendant in the Securities Class Action. As a trusted Company

director and the CFO, he conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded his duties to monitor internal

controls over reporting and engagement in the scheme, and consciously disregarded his duties to

protect corporate assets. For these reasons, Defendant Hamner breached his fiduciary duties, faces

a substantial likelihood of liability, is not independent or disinterested, and thus demand upon him

is futile and, therefore, excused.

       213.    Additional reasons that demand on Defendant Mozingo is futile follow. Defendant

Mozingo has served as a Company director since February 2020. She also serves as Chair of the
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Environmental and Social Committee and as a member of the Risk Committee. Defendant

Mozingo signed, and thus personally made, the false and misleading statements contained in the

2020 and 2021 10-Ks. The 2021, 2022, and 2023 Proxy statements were solicited on her behalf,

and the false and misleading statements contained therein contributed to her reelection to the Board

and to the shareholders approving the Plan, which she improperly benefitted from. As a trusted

Company director, she conducted little, if any, oversight of the scheme to cause the Company to

make false and misleading statements, consciously disregarded her duties to monitor internal

controls over reporting and engagement in the scheme, and consciously disregarded her duties to

protect corporate assets. For these reasons, Defendant Mozingo breached her fiduciary duties,

faces a substantial likelihood of liability, is not independent or disinterested, and thus demand upon

her is futile and, therefore, excused.

       214.    Additional reasons that demand on Defendant Murphy is futile follow. Defendant

Murphy has served as a Company director since February 2022. She also serves as a member of

the Ethics Committee, the Nominating and Corporate Governance Committee, and the

Environmental and Social Committee. The 2022 and 2023 Proxy statements were solicited on her

behalf, and the false and misleading statements contained therein contributed to her reelection to

the Board and to shareholders approving the Plan, which she improperly benefitted from. As a

trusted Company director, she conducted little, if any, oversight of the scheme to cause the

Company to make false and misleading statements, consciously disregarded her duties to monitor

internal controls over reporting and engagement in the scheme, and consciously disregarded her

duties to protect corporate assets. For these reasons, Defendant Murphy breached her fiduciary

duties, faces a substantial likelihood of liability, is not independent or disinterested, and thus

demand upon her is futile and, therefore, excused.
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       215.    Additional reasons that demand on Defendant Pitman is futile follow. Defendant

Pitman has served as a Company director since 2018. She also serves as Chair of the Nominating

and Corporate Governance Committee, Chair of the Risk Committee, as a member of the Ethics

Committee, and as a member of the Environmental and Social Committee. Defendant Pitman

signed, and thus personally made, the false and misleading statements contained in the 2019, 2020

and 2021 10-Ks. The 2021, 2022, and 2023 Proxy statements were solicited on her behalf, and the

false and misleading statements contained therein contributed to her reelection to the Board and to

shareholders approving the Plan, which she improperly benefitted from. As a trusted Company

director, she conducted little, if any, oversight of the scheme to cause the Company to make false

and misleading statements, consciously disregarded her duties to monitor internal controls over

reporting and engagement in the scheme, and consciously disregarded her duties to protect

corporate assets. For these reasons, Defendant Pitman breached her fiduciary duties, faces a

substantial likelihood of liability, is not independent or disinterested, and thus demand upon her is

futile and, therefore, excused.

       216.    Additional reasons that demand on Defendant Sparks is futile follow. Defendant

Sparks has served as a Company director since 2014. He also serves as a member of the Audit

Committee, Compensation Committee, and Investment Committee. Defendant Sparks signed, and

thus personally made, the false and misleading statements contained in the 2019, 2020 and 2021

10-Ks. The 2021, 2022, and 2023 Proxy statements were solicited on his behalf, and the false and

misleading statements contained therein contributed to his reelection to the Board and to

shareholders approving the Plan, which he improperly benefitted from. As a trusted Company

director, he conducted little, if any, oversight of the scheme to cause the Company to make false

and misleading statements, consciously disregarded his duties to monitor internal controls over
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reporting and engagement in the scheme, and consciously disregarded his duties to protect

corporate assets. Moreover, he served as a member of Medical Properties’ Audit Committee and,

in that capacity, he failed to oversee, inter alia, the integrity of the Company’s financial statements,

the Company’s internal control over financial reporting, and the effectiveness of its disclosure

controls and procedures, as he was required to do under the Audit Committee Charter. For these

reasons, Defendant Sparks breached his fiduciary duties, faces a substantial likelihood of liability,

is not independent or disinterested, and thus demand upon him is futile and, therefore, excused.

        217.    Additional reasons that demand on Defendant Stewart is futile follow. Defendant

Stewart has served as a Company director since 2016. He also serves as a member of the

Environmental and Social Committee, Compensation Committee, and Ethics Committee.

Defendant Stewart signed, and thus personally made, the false and misleading statements

contained in the 2019, 2020 and 2021 10-Ks. The 2021, 2022, and 2023 Proxy statements were

solicited on his behalf and the false and misleading statements contained therein contributed to his

reelection to the Board and to shareholders approving the Plan, which he improperly benefitted

from. As a trusted Company director, he conducted little, if any, oversight of the scheme to cause

the Company to make false and misleading statements, consciously disregarded his duties to

monitor internal controls over reporting and engagement in the scheme, and consciously

disregarded his duties to protect corporate assets. For these reasons, Defendant Stewart breached

his fiduciary duties, faces a substantial likelihood of liability, is not independent or disinterested,

and thus demand upon him is futile and, therefore, excused.

        218.    Additional reasons that demand on Defendant Thompson is futile follow.

Defendant Thompson has served as a Company director since 2016. He also serves as a member

of the Audit Committee and Investment Committee. Defendant Thompson signed, and thus
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personally made, the false and misleading statements contained in the 2019, 2020 and 2021 10-

Ks. The 2021, 2022, and 2023 Proxy statements were solicited on his behalf, and the false and

misleading statements contained therein contributed to his reelection to the Board and to

shareholders approving the Plan, which he improperly benefitted from. As a trusted Company

director, he conducted little, if any, oversight of the scheme to cause the Company to make false

and misleading statements, consciously disregarded his duties to monitor internal controls over

reporting and engagement in the scheme, and consciously disregarded his duties to protect

corporate assets. Moreover, he served as a member of Medical Properties’ Audit Committee and,

in that capacity, he failed to oversee, inter alia, the integrity of the Company’s financial statements,

the Company’s internal control over financial reporting, and the effectiveness of its disclosure

controls and procedures, as he was required to do under the Audit Committee Charter. For these

reasons, Defendant Thompson breached his fiduciary duties, faces a substantial likelihood of

liability, is not independent or disinterested, and thus demand upon him is futile and, therefore,

excused.

        219.    Additional reasons that demand on the Board is futile follow.

        220.    The Directors have longstanding business and personal relationships with each

other and the Individual Defendants that preclude them from acting independently and in the best

interests of the Company and its shareholders. These conflicts of interest precluded the Directors

from adequately monitoring the Company’s operations and internal controls and calling into

question the Individual Defendants’ conduct. Thus, demand upon the Directors would be futile.

        221.    The Audit Committee Defendants, consisting of Defendants Dawson, Sparks, and

Thompson, served as members of Medical Properties’ Audit Committee during the Relevant

Period. Pursuant to the Company’s Audit Committee Charter, the Audit Committee Defendants
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are responsible for, inter alia, overseeing accounting and financial reporting processes, and

reviewing and discussing with management major issues regarding accounting principles and

financial statement presentations, as well as major issues as to the adequacy of the Company’s

internal controls and any special audit steps adopted in light of material control deficiencies. The

Audit Committee Defendants failed to adequately oversee the Company’s reporting processes,

failed to remediate major issues regarding accounting principles, financial statement presentations,

and identify or remedy deficiencies with the Company’s internal controls, and failed prevent the

Company from issuing false and misleading financial statements with the SEC. Thus, the Audit

Committee Defendants breached their fiduciary duties, are not disinterested or independent, and

demand is excused as to them.

       222.    The Directors violated the Code of Conduct, Company policy, the Guidelines, the

Audit Committee Charter, and the Company’s other corporate governance documents by engaging

in or permitting the scheme to issue materially false and misleading statements to the public,

including in the Company’s SEC filings, and by facilitating and disguising the Individual

Defendants’ violations of law, including breaches of fiduciary duty, waste of corporate assets,

unjust enrichment, abuse of control, gross mismanagement, violations of the Exchange Act, and

failing to report the same. Further, in violation of the Code of Conduct and the Company’s policies,

the Individual Defendants failed to maintain internal controls, failed to maintain the accuracy of

Company records and reports, and failed to comply with applicable laws and regulations.

       223.    The Company has been and will continue to be exposed to significant losses due to

the wrongdoing complained of herein, yet the Directors have not filed any lawsuits against the

Individual Defendants or others who were responsible for that wrongful conduct to attempt to

recover for the Company the damages the Company suffered and will continue to suffer thereby.
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Thus, any demand upon the Directors would be futile.

       224.    The Individual Defendants’ conduct described herein and summarized above could

not have been the product of legitimate business judgment as it was based on bad faith and

intentional, reckless, or disloyal misconduct. Thus, none of the Directors can claim exculpation

from their violations of duty pursuant to the Company’s charter (to the extent such a provision

exists). As a majority of the Directors face a substantial likelihood of liability, they are self-

interested in the transactions challenged herein and cannot be presumed to be capable of exercising

independent and disinterested judgment about whether to pursue this action on behalf of the

shareholders of the Company. Accordingly, demand is excused as being futile.

       225.    The acts complained of herein constitute violations of fiduciary duties owed by the

Company’s officers and directors, and these acts are incapable of ratification.

       226.    The Directors may also be protected against personal liability for their acts of

mismanagement and breaches of fiduciary duty alleged herein by directors’ and officers’ liability

insurance if they caused the Company to purchase it for their protection with corporate funds, i.e.,

monies belonging to the stockholders of the Company. If there is a directors’ and officers’ liability

insurance policy covering the Directors, it may contain provisions that eliminate coverage for any

action brought directly by the Company against the Directors, known as, inter alia, the “insured-

versus-insured exclusion.” As a result, if the Directors were to sue the Directors or certain of the

officers of the Company, there would be no directors’ and officers’ insurance protection.

Accordingly, the Directors cannot be expected to bring such a suit. On the other hand, if the suit

is brought derivatively, as this action is brought, such insurance coverage, if such an insurance

policy exists, will provide a basis for the Company to effectuate a recovery. Thus, demand on the

Directors is futile and, therefore, excused.
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       227.    If there is no directors’ and officers’ liability insurance, then the Directors will not

cause the Company to sue the Individual Defendants named herein, since, if they did, they would

face a large uninsured individual liability. Accordingly, demand is futile in that event as well.

       228.    Thus, for all of the reasons set forth above, all of the Directors, and, if not all of

them, at least five of the Directors, cannot consider a demand with disinterestedness and

independence. Consequently, a demand upon the Board is excused as futile.

                                           FIRST CLAIM

           Against Defendants for Violations of Section 14(a) of the Exchange Act

       229.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       230.    Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t shall

be unlawful for any person, by use of the mails or by any means or instrumentality of interstate

commerce or of any facility of a national securities exchange or otherwise, in contravention of

such rules and regulations as the [SEC] may prescribe as necessary or appropriate in the public

interest or for the protection of investors, to solicit or to permit the use of his name to solicit any

proxy or consent or authorization in respect of any security (other than an exempted security)

registered pursuant to section 12 of this title [15 U.S.C. § 78l].”

       231.    Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides that no

proxy statements shall contain “any statement which, at the time and in the light of the

circumstances under which it is made, is false or misleading with respect to any material fact, or

which omits to state any material fact necessary in order to make the statements therein not false

or misleading.” 17 C.F.R. §240.14a-9.

       232.    Under the direction and watch of Defendants Aldag, Dawson, Hamner, Mozingo,
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Pitman, Sparks, Stewart, and Thompson, the Company’s 2021, 2022, and 2023 Proxy statements

failed to disclose, inter alia, the wrongdoing described above, that the Company failed to maintain

adequate controls and oversight to prevent such wrongful conduct, thus rendering the Proxies false

and misleading. The Individual Defendants on the Board at that time who were breaching their

fiduciary duties were improperly interested in increasing their unjust compensation by seeking

shareholder advisory approval of the executive officers’ compensation plan.

       233.    In the exercise of reasonable care, the Defendants should have known that by

misrepresenting or failing to disclose material facts described herein, the statements contained in

the Proxies were materially false and misleading. The misrepresentations and omissions were

material to the Company’s shareholders in voting on matters set forth for shareholder

determination in the Proxies, including the election of directors, advisory approval of the executive

compensation, and ratification of the Company’s independent auditor.

       234.    The Company was damaged as a result of the Defendants’ material

misrepresentations and omissions in the Proxies.

       235.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                           SECOND CLAIM

              Against the Individual Defendants for Breach of Fiduciary Duties

       236.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       237.    Each Individual Defendant owed to the Company the duty to exercise candor, good

faith, and loyalty in the management and administration of the Company’s business and affairs.

       238.    Each of the Individual Defendants violated and breached their fiduciary duties of

candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
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       239.    The Individual Defendants’ conduct set forth herein was due to their intentional or

reckless breaches of the fiduciary duties they owed to the Company, as alleged herein. The

Individual Defendants intentionally or recklessly breached or disregarded their fiduciary duties to

protect the Company’s rights and interests.

       240.    In breach of their fiduciary duties owed to the Company, the Individual Defendants

willfully or recklessly made and/or caused the Company to make false and misleading statements

and/or omissions of material fact that failed to disclose, inter alia, that: (1) the Company concealed

the poor financial condition of its high- debt tenants, including Steward; (2) Medical Properties

fraudulently transferred hundreds of millions of dollars to bail out its debt-ridden tenants; (3)

Medical Properties hid its fraudulent fund transfers by concocting fake construction projects with

purportedly high capital expenses despite the fact that Medical Properties entered into “triple-net

leases,” which required tenants to pay a high amount of expenses, including real estate taxes,

insurance, and maintenance; (4) due to the foregoing, the Company’s public representations, were

false and misleading; and (5) the Company failed to maintain adequate internal controls. Further,

the Individual Defendants failed to adequately disclose the poor financial condition of Steward

until January 2024, whereupon it announced that Steward owed approximately $50 million in

unpaid rent and that it would record about $350 million of write-downs related to Steward,

including a write-off of consolidated straight-line rent receivables of approximately $225 million

and unpaid rent receivables of approximately $100 million. As a result of the foregoing, the

Company’s public statements were materially false and misleading at all relevant times.

       241.    The Individual Defendants failed to correct and/or caused the Company to fail to

correct the false and misleading statements and/or omissions of material fact, which renders them

personally liable to the Company for breaching their fiduciary duties.
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       242.    Also in breach of their fiduciary duties, the Individual Defendants caused the

Company to fail to maintain internal controls and effective disclosure controls and procedures.

       243.    The Individual Defendants had actual or constructive knowledge that they had

caused the Company to improperly engage in the fraudulent scheme set forth herein and to fail to

maintain internal controls. The Individual Defendants had actual knowledge that the Company was

engaging in the fraudulent scheme set forth herein and that internal controls were not adequately

maintained, or acted with reckless disregard for the truth, in that they caused the Company to

improperly engage in the fraudulent scheme and to fail to maintain adequate internal controls, even

though such facts were available to them. Such improper conduct was committed knowingly or

recklessly and for the purpose and effect of artificially inflating the price of the Company’s

securities. The Individual Defendants, in good faith, should have taken appropriate action to

correct the scheme alleged herein and to prevent it from continuing to occur.

       244.    These actions were not a good-faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       245.    As a direct and proximate result of the Individual Defendants’ breaches of their

fiduciary obligations, the Company has sustained and continues to sustain significant damages. As

a result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

       246.    Plaintiff, on behalf of the Company, has no adequate remedy at law.
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                                         THIRD CLAIM

    Against the Individual Defendants for Unjust Enrichment Plaintiff incorporates by
 reference and realleges each and every allegation set forth above, as though fully set forth
                                          herein.

       247.    By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, the Individual Defendants

were unjustly enriched at the expense of, and to the detriment of, the Company.

       248.    The Individual Defendants either benefitted financially from the improper conduct,

or received bonuses, stock options, or similar compensation from the Company that was tied to

the performance or artificially inflated valuation of the Company, or received compensation or

other payments that were unjust in light of the Individual Defendants’ bad faith conduct.

       249.    Plaintiff, as a shareholder and representative of the Company, seeks restitution from

the Individual Defendants and seeks an order from this Court disgorging all profits, including from

insider transactions, the redemption of preferred stock, benefits, and other compensation, including

any performance- based or valuation-based compensation, obtained by the Individual Defendants

due to their wrongful conduct and breaches of their fiduciary and contractual duties.

       250.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                       FOURTH CLAIM

Against the Individual Defendants for Abuse of Control Plaintiff incorporates by reference
 and realleges each and every allegation set forth above, as though fully set forth herein.

       251.    The Individual Defendants’ misconduct alleged herein constituted an abuse of their

ability to control and influence the Company, for which they are legally responsible.

       252.    As a direct and proximate result of the Individual Defendants’ abuse of control, the

Company has sustained significant damages. As a result of the misconduct alleged herein, the

Individual Defendants are liable to the Company.
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       253.    Plaintiff, on behalf of the Company, has no adequate remedy at law.


                                           FIFTH CLAIM

                Against the Individual Defendants for Gross Mismanagement

       254.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       255.    By their actions alleged herein, the Individual Defendants, either directly or through

aiding and abetting, abandoned and abdicated their responsibilities and fiduciary duties with regard

to prudently managing the assets and business of the Company in a manner consistent with the

operations of a publicly-held corporation.

       256.    As a direct and proximate result of the Individual Defendants’ gross

mismanagement and breaches of duty alleged herein, the Company has sustained, and will

continue to sustain, significant damages.

       257.    As a result of the misconduct and breaches of duty alleged herein, the Individual

Defendants are liable to the Company.

       258.    Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                           SIXTH CLAIM

              Against the Individual Defendants for Waste of Corporate Assets

       259.    Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       260.    The Individual Defendants caused the Company to pay the Individual Defendants

excessive salaries and fees, to the detriment of the shareholders and the Company.

       261.    As a result of the foregoing, and by failing to properly consider the interests of the
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Company and its public shareholders, the Individual Defendants have caused the Company to

waste valuable corporate assets, to incur many millions of dollars of legal liability and/or costs to

defend unlawful actions, to engage in internal investigations, and to lose financing from investors

and business from future customers who no longer trust the Company and its products.

       262.     As a result of the waste of corporate assets, the Individual Defendants are each

liable to the Company.

       263.     Plaintiff, on behalf of the Company, has no adequate remedy at law.

                                       SEVENTH CLAIM

              Contribution And Indemnification against all Individual Defendants

       264.     Plaintiff incorporates by reference and realleges each and every allegation set forth

above, as though fully set forth herein.

       265.     The Company is alleged to be liable to various persons, entities and/or classes by

virtue of the same facts as are alleged herein.

       266.     The Company’s alleged liability on account of the wrongful acts, practices and

related misconduct described above arises, in whole or in part, from the knowing, reckless, disloyal

and/or bad faith acts or omissions of the Defendants as alleged above. The Company is entitled to

contribution and indemnification from each Individual Defendant in connection with all such

claims that have been, are or may in the future be asserted by virtue of the Individual Defendants’

misconduct.

                                     PRAYER FOR RELIEF

       FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor against all

Individual Defendants as follows:

                (a)    Declaring that Plaintiff may maintain this action on behalf of Medical
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Properties, and that Plaintiff is an adequate representative of the Company;

                 (b)     Declaring that the Individual Defendants have breached and/or aided and

abetted the breach of their fiduciary duties to the Company;

                 (c)     Determining and awarding to the Company the damages sustained by it as

a result of the violations set forth above from each of the Individual Defendants, jointly and

severally, together with pre-judgment and post- judgment interest thereon;

                 (d)     Directing the Company and the Individual Defendants to take all necessary

actions to reform and improve the Company’s corporate governance and internal procedures to

comply with applicable laws and to protect the Company and its shareholders from a repeat of the

damaging events described herein, including, but not limited to, putting forward for shareholder

vote the following resolutions for amendments to the Company’s Bylaws or Certificate of

Incorporation and actions as may be necessary to ensure proper corporate governance policies.

                 (e)     Awarding the Company restitution from the Individual Defendants, and

each of them;

                 (f)     Awarding Plaintiff the costs and disbursements of this action, including

reasonable attorneys’ and experts’ fees, costs, and expenses; and

                 (g)     Granting such other and further relief as the Court may deem just and

proper.

                                          JURY DEMAND

          Plaintiff hereby demands a trial by jury.
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Dated: February 16, 2024              Respectfully submitted,

                                      /s/ Andrea R. Gold
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